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 7   Lead Counsel for the
     Indirect Purchaser Plaintiffs
 8

 9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)            Master File No. CV-07-5944-JST
13   ANTITRUST LITIGATION
                                              MDL No. 1917
14

15                                            COMPENDIUM OF DECLARATIONS IN
     This Document Relates to:                SUPPORT OF INDIRECT PURCHASER
16                                            PLAINTIFFS’ REPLY RE: MOTION FOR
     All Indirect Purchaser Actions           AWARD OF ATTORNEYS’ FEES,
17                                            REIMBURSEMENT OF LITIGATION
                                              EXPENSES, AND INCENTIVE AWARDS
18
                                              Hearing Date: March 15, 2016
19                                            Time: 2:00 p.m.
                                              Judge: Honorable Jon S. Tigar
20                                            Court: Courtroom 9, 19th Floor
                                              Before: Special Master Martin Quinn, JAMS
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       COMPENDIUM OF DECLARATIONS IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ REPLY RE:
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                              AWARDS – Master File No. CV-07-5944-JST
     Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 2 of 90




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 2                                 INDEX OF DECLARATIONS

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 5
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 6
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 7
                     LLP.
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       Exhibit C:    Declaration of Sylvie K. Kern, principal of the KAG Law Group.
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20
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22
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     COMPENDIUM OF DECLARATIONS IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ REPLY RE:
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             EXHIBIT A
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 1   Donald L. Perelman, SBN: 99152
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 9                               UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN FRANCISCO DIVISION

12   IN RE CATHODE RAY TUBE (CRT)                    Master File No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION
13                                                   MDL No. 1917

14   This Document Relates to:
                                                     ADDITIONAL DECLARATION OF
15   ALL INDIRECT PURCHASER ACTIONS                  DONALD PERELMAN IN SUPPORT OF
                                                     INDIRECT PURCHASER PLAINTIFFS’
16                                                   MOTION FOR ATTORNEYS’ FEES,
                                                     REIMBURSEMENT OF LITIGATION
17                                                   EXPENSES, AND INCENTIVE AWARDS

18                                                   Hearing Date: March 15, 2016
                                                     Time: 2:00 p.m.
19                                                   Judge: Honorable Jon S. Tigar
                                                     Court: Courtroom 9, 19th Floor
20                                                   Special Master: Martin Quinn, JAMS

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       ADDITIONAL DECLARATION OF DONALD L. PERELMAN IN SUPPORT OF INDIRECT PURCHASER
            PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES; Master File No. 3:07-cv-5944-JST
        Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 5 of 90




 1   I, DONALD L. PERELMAN, declare:

 2            1.     My name is Don Perelman. I am a partner in the law firm of Fine Kaplan and

 3   Black.

 4            2.     My firm, along with the Freedman Boyd and Hulett Harper firms, were brought into

 5   the Cathode Ray Tube (CRT) litigation by lead counsel in October 2014 to serve as members of

 6   lead counsel’s Trial Team. In my opinion, lead counsel’s decision to bring in additional

 7   experienced trial counsel was the right move, putting plaintiffs in the best position to try this

 8   complex antitrust class action while at the same time strengthening plaintiffs’ hand in settlement

 9   negotiations. Very few antitrust class actions ever go to trial but my firm was co-lead counsel and

10   Joe Goldberg of Freedman Boyd was trial counsel in one of the few that did, the Urethanes

11   Antitrust Litigation, which was tried in the District of Kansas in early 2013. The four week

12   Urethanes trial resulted in a judgment of over one billion dollars, which is believed to be the

13   largest antitrust verdict ever. The collective work of the CRT Team — along with lead counsel's

14   demonstrated willingness to take the case to the jury — played a significant role in the successful

15   resolution of this case.

16            3.     In our role as a member of the Trial Team, Fine Kaplan had significant involvement

17   in the preparation for trial of the indirect CRT case. We were actively involved in the organization

18   and synthesis of the impressive discovery record assembled at lead counsel's direction during the

19   course of the litigation to identify the relevant witnesses and documents for presentation at trial, so

20   as to establish all necessary elements of proof with attention to putting on a manageable and

21   compelling case. Fine Kaplan also was heavily involved in numerous trial related pleadings,

22   including jury instructions, verdict form, the pretrial order and motions in limine, and summary

23   judgment briefing.

24            4.     As a trial-stage addition to the indirect CRT plaintiffs’ team, Fine Kaplan was in a

25   unique position to evaluate the quality, organization and cohesiveness of the law firms that put

26   together this case. In short, we were extremely impressed. During the months of intensive trial

27   preparation leading up to the settlements in early 2015, the strength and depth of the CRT team
28   ensured the thorough and efficient preparation of the case for trial

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        ADDITIONAL DECLARATION OF DONALD L. PERELMAN IN SUPPORT OF INDIRECT PURCHASER
             PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES; Master File No. 3:07-cv-5944-JST
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 1          5.      On the most important front, the quality of the work product was outstanding. The

 2   attorneys actively prosecuting this case from the beginning had put together an impressive record

 3   documenting the CRT cartel, including incriminating testimony and documents from the cartel

 4   members. Memos had been prepared detailing the mechanics and scope of the conspiracy, both as

 5   an overarching matter and with respect to each individual participant as well. The key legal issues

 6   bearing on the case likewise had been analyzed carefully and thoroughly and documents

 7   supporting our legal position had been identified. The work product during the trial preparation

 8   stage continued to be outstanding. The written submissions – summary judgment and in limine

 9   briefs as well as the jury instructions and related pleadings – were well researched, meticulously

10   prepared and supported by documents from the record. In my opinion, the quality of these

11   submissions demonstrated to defendants our readiness to take the case to trial, an important step in

12   achieving maximum settlements.

13          6.      From an organizational stand-point, the case was effectively managed. Lead

14   counsel had full command of the discovery record. When we asked a question, they almost always

15   had the answer and on the rare occasions that they didn’t have the answer, someone else on the

16   CRT team did. Various firms had responsibility for particular defendants and/or particular legal

17   issues and the results of their efforts were incorporated into comprehensive and user-friendly

18   memos. We invariably found that the work product and attention to detail of these firms was

19   extraordinary. Effective management of the case continued during the trial preparation stage. This

20   was particularly important because without effective management during this most intense period,

21   critical projects can be missed and inefficiency can occur. That did not happen in this case. I saw

22   little inefficiency but more important, critical projects proceeded and were completed as needed.

23   These projects included the identification of the relevant witnesses and critical documents for trial,

24   development of an order of proof, designation of trial testimony, determination as to which

25   witnesses should be called live, and witness preparation (including those witnesses outside the

26   United States) for trial testimony.

27          7.      Finally, the CRT team was cohesive. Lead counsel clearly was in charge but the
28   other firms had the freedom and confidence to innovate, rather than simply follow orders. This

                                                        2
        ADDITIONAL DECLARATION OF DONALD L. PERELMAN IN SUPPORT OF INDIRECT PURCHASER
             PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES; Master File No. 3:07-cv-5944-JST
        Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 7 of 90




 1   level of collegiality and cooperation does not always exist in cases like this but it is a certainty that

 2   cases work better under these conditions. Trial preparation in a complex antitrust class action is

 3   stressful and difficult and the maximum effort can only be harnessed if everyone is on the same

 4   page. During these months of trial preparation, the cohesiveness of the indirect CRT plaintiffs’

 5   counsel served the class well and, in my opinion, provided the class with both maximum efforts

 6   and results.

 7          I declare under penalty of law that the foregoing is true and correct.

 8          Executed this day of November 3, 2015, in Philadelphia, Pennsylvania.

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10                                                        /s/ Donald L. Perelman
11                                                       DONALD L. PERELMAN
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        ADDITIONAL DECLARATION OF DONALD L. PERELMAN IN SUPPORT OF INDIRECT PURCHASER
             PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES; Master File No. 3:07-cv-5944-JST
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             EXHIBIT B
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 5
     Counsel for Indirect Purchaser Plaintiffs
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 9
                                 UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944-JST
13   ANTITRUST LITIGATION                        MDL No. 1917

14                                               CLASS ACTION

15                                               SUPPLEMENTAL DECLARATION OF PAUL
     This Document Relates to:                   F. NOVAK IN SUPPORT OF PLAINTIFFS’
16                                               APPLICATION FOR ATTORNEYS’ FEES,
     All Indirect Purchaser Actions              EXPENSES AND INCENTIVE AWARDS
17
                                                 Hearing Date: March 15, 2016
18                                               Time: 2:00 p.m.
                                                 Judge: Honorable Jon S. Tigar
19                                               Court: Courtroom 9, 19th Floor
                                                 Special Master: Martin Quinn, JAMS
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                      DECLARATION OF PAUL F. NOVAK IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944-JST, MDL No. 1917
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 1           I, Paul F. Novak, declare as follows:

 2           1.      I am an attorney licensed to practice before the courts of Michigan and am admitted

 3   pro hac vice before this court. I am a partner in the law firm of Milberg LLP (“Milberg”) and head

 4   of the firm’s Antitrust Practice Group. My firm is counsel of record in this case, and represents

 5   named plaintiffs Ryan Rizzo and Travis Burau. I have personal knowledge of the facts stated in

 6   this declaration and, if called as a witness, I could and would testify competently to them. I make

 7   this declaration in support of Plaintiffs’ Application for Attorneys’ Fees, Expenses and Incentive

 8   Awards.

 9           2.      This case has been vigorously litigated from its commencement and demanded a

10   high level of intensity and teamwork among Indirect Purchaser Counsel (collectively “IPP

11   Counsel”). In my experience from past indirect purchaser matters, one of the dominant issues in

12   successfully facilitating a resolution of indirect purchaser claims is the coordination of IPP

13   Counsel’s efforts across numerous fronts in order to obtain the maximum recovery for the Class.

14   There is no doubt that is what IPP Counsel achieved here.

15           3.      Throughout the course of this litigation, my observations are that IPP Counsel

16   constructively and cohesively worked together on the briefing of motions to dismiss, discovery,

17   depositions, summary judgment, mediation and settlement negotiations. The lines of

18   communication between IPP Counsel were open at each stage of the litigation and each firm was

19   able to contribute to the successful and efficient resolution of this case, without duplication of

20   efforts or inefficiencies.

21           4.      As the Court is well aware from the management of the above-captioned action,

22   everything about this case has been difficult and complex. Despite the many difficulties and

23   complexities, the joint efforts of IPP Counsel in the prosecution of the Class’s claims have resulted

24   in an extraordinary result for the Class. The efforts of IPP Counsel to achieve this result have been

25   performed in the most efficient and competent way possible so as to best represent the class and

26   ensure full and vigorous prosecution of all claims for all class members.

27           5.      This result, one of the largest settlement funds in the history of indirect purchaser

28   class actions, was not the inevitable outcome of the filing of this action eight years ago. Rather,
                                                 1
                       DECLARATION OF PAUL F. NOVAK IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                            Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 11 of 90




 1   this result was achieved by the persistent, prolonged and collaborative efforts of IPP Counsel.

 2          6.      Indeed, the prosecution and settlement of this action required extensive

 3   coordination and cooperation from IPP Counsel, considerable resources and the expenditure of

 4   thousands of hours with neither compensation nor the assurance thereof. The result was not only

 5   a product of highly skilled litigation efforts, but also IPP Counsel’s dedication in managing the

 6   many complexities of this action together in a unified manner led under the direction of the

 7   designated lead counsel, Mario Alioto.

 8

 9          I declare under penalty of perjury that the foregoing is true and correct. Executed this 27th

10   day of October, 2015, at Detroit, Michigan.

11                                                   /s/ Paul F. Novak___________
                                                     Paul F. Novak
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                      DECLARATION OF PAUL F. NOVAK IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                           Case No. 3:07-cv-5944-JST, MDL No. 1917
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              EXHIBIT C
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 13 of 90




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     Counsel for Indirect Purchaser Plaintiffs
 5   Louise Wood and Jeffrey Figone

 6

 7

 8

 9                               UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN FRANCISCO DIVISION

12
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944-JST
13   ANTITRUST LITIGATION

14                                               MDL No. 1917

15                                               CLASS ACTION
     This Document Relates to:
16                                               ADDITIONAL DECLARATION OF SYLVIE
     All Indirect Purchaser Actions              K. KERN IN SUPPORT OF PLAINTIFFS’
17                                               APPLICATION FOR ATTORNEYS’ FEES,
                                                 EXPENSES AND INCENTIVE AWARDS
18
                                                 Hearing Date: March 15, 2016
19                                               Time: 2:00 p.m.
                                                 Judge: Honorable Jon S. Tigar
20                                               Court: Courtroom 9, 19th Floor
                                                 Special Master: Martin Quinn, JAMS
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       ADDITIONAL DECLARATION OF SYLVIE K. KERN IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR
                      ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                      Case No. 3:07-cv-5944-JST, MDL No. 1917
     Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 14 of 90




 1            I, Sylvie K. Kern, declare as follows:

 2            1.      I am an attorney licensed to practice before this Court and the courts of the State

 3     of California, and a principal of the KAG Law Group. I have personal knowledge of the facts

 4     stated in this declaration and, if called as a witness, could and would testify competently to them.

 5     I make this additional declaration in support of Indirect Purchaser Plaintiffs’ (“IPPs”) Application

 6     for Attorneys’ Fees, Expenses and Incentive Awards.

 7            2.      By way of background, I have practiced complex commercial litigation for nearly

 8     thirty years, including about twenty years combined at Morrison & Foerster, Brobeck, Phleger &

 9     Harrison, and Severson, Werson, Burke & Melchior. During that period, I participated in the

10     litigation of numerous class actions. For the past ten years, I have focused almost exclusively on

11     plaintiffs’ antitrust class actions, and I have actively worked with lead and co-lead counsel in

12     cases such as In re Automotive Parts Antitrust Litigation; In re Urethanes Antitrust Litigation

13     (Polyester Polyols); In re Western States Natural Gas Antitrust Litigation; and In re Korean Air

14     Lines Antitrust Litigation. I believe that my experience as a lawyer on both the defense side and

15     the plaintiffs’ side has given me unusual perspective on the management of class actions.

16            3.      I have represented the IPPs, and specifically Louise Wood and Jeffrey Figone, two

17     named IPP representatives, since 2010. In the past five years, I have been a major participant in

18     this litigation. I played a leading role the briefing of IPPs’ motion for class certification,

19     oppositions to motions to dismiss, and oppositions to summary judgment motions. I also had

20     primary responsibility for assessing the roles of several defendants in the alleged conspiracy. I

21     supervised a discovery team and took part in discovery matters including written discovery,

22     depositions, and motions to compel. I also helped to prepare the case for trial, including the

23     preparation of motions in limine and jury instructions, and the identification of key exhibits.

24     Finally, I participated in settlement strategy discussions and in settlement negotiations with many

25     of the defendants. In the course of all these activities, I was in continual contact not only with

26     Lead Counsel but also with other plaintiffs’ counsel actively participating in this case.

27                                          1
28      ADDITIONAL DECLARATION OF SYLVIE K. KERN IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR
                       ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944-JST, MDL No. 1917
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 1            4.      Based on my experience in this litigation, other class actions, and specifically

 2     other direct or indirect-purchaser antitrust actions, I can state without reservation that this action

 3     from inception has proceeded in a most organized and effective manner. From the very

 4     beginning, a clear plan was in place to review and analyze hundreds of thousands of documents

 5     as efficiently as possible; identify and target the key players in the conspiracy; and produce

 6     defendant-specific strategies involving detailed, extensive analyses of the strengths and

 7     weaknesses of the parties that would ultimately serve as the basis for trial and settlement.

 8            5.      Lead Counsel staffed this case leanly. Firms were assigned specific roles enabling

 9     them as time went by to develop expertise on given topics and given defendants. This

10     organizational framework enabled us to very quickly locate necessary documentary evidence or

11     witness testimony, and it proved highly effective, particularly during the crucial summary

12     judgment, trial preparation, and settlement phases.

13            6.      Lastly, thanks to Lead Counsel’s management style, which emphasized

14     cooperation and consensus, the team worked extremely well together. We could rely upon one

15     another. In addition, we were given clear direction. At the same time, once given our marching

16     orders we had freedom to work independently. As a result, I believe we were motivated to

17     produce great work, all to the benefit of the class.

18            I declare under penalty of perjury that the foregoing is true and correct. Executed this

19     24th day of October, 2015 at San Francisco, California.

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21                                                    /s/     Sylvie K. Kern
                                                              Sylvie K. Kern
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28      ADDITIONAL DECLARATION OF SYLVIE K. KERN IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR
                       ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944-JST, MDL No. 1917
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              EXHIBIT D
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     Telephone: 619-398-4340
4    Email: bgralewski@kmllp.com

5    Counsel for Kerry Lee Hall, Daniel Riebow and the
     Certified Class of Indirect Purchaser Plaintiffs
6
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11
                                 UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944 JST
15   ANTITRUST LITIGATION                        MDL No. 1917
16                                               CLASS ACTION
17                                               ADDITIONAL DECLARATION OF ROBERT
     This Document Relates to:                   J. GRALEWSKI, JR. IN SUPPORT OF
18                                               INDIRECT PURCHASER PLAINTIFFS’
     All Indirect Purchaser Actions              REPLY RE: MOTION FOR AWARD OF
19                                               ATTORNEYS’ FEES, REIMBURSEMENT OF
                                                 LITIGATION EXPENSES, AND INCENTIVE
20                                               AWARDS
21                                               Hearing Date: March 15, 2016
                                                 Time: 2:00 p.m.
22                                               Judge: Honorable Jon S. Tigar
                                                 Court: Courtroom 9, 19th Floor
23                                               Special Master: Martin Quinn, JAMS
24
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      ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
         PLAINTIFFS’ REPLY RE: MOTION FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF
                           LITIGATION EXPENSES, AND INCENTIVE AWARDS
                                                          Case No. 3:07-cv-5944 JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 18 of 90




1             I, Robert J. Gralewski, Jr., declare as follows:
2       1. I am an attorney licensed to practice before all state and federal courts in the state of
3    California, and I am a partner at Kirby McInerney LLP (“KM”). I have personal knowledge of the
4    facts stated in this declaration, and if called as a witness, I could and would testify competently to
5    them. I make this declaration is support of the Indirect Purchaser Plaintiffs’ (“IPPs”) reply in
6    support of their motion for fees and, in connection with that motion, to offer illustrations that
7    support the fact that the case was run efficiently and by experienced lawyers.
8                                           A. Antitrust Experience
9       2. As detailed in my August 4, 2015 Declaration, I was (and still am) one of the lawyers who,
10   at the direction of Lead Counsel, actively litigated all aspects of this case. I have primarily
11   practiced antitrust law for my entire 17-year legal career. Among countless other tasks, I have run
12   document reviews, taken depositions, and argued motions in large antitrust cases. I have also been
13   an active courtroom participant on two antitrust trial teams in cases against Microsoft that each
14   lasted approximately four months and resulted in significant settlements.
15      3. Headquartered in New York with an office in California, my firm is a prominent plaintiffs’
16   class action law firm. KM has recovered more than $2 billion for investors in complex securities
17   litigation, including more than $800 million since 2012 alone, including the 21st largest recovery
18   during the prior 20 years (Citigroup; $590 million). KM also has a robust antitrust practice and
19   was recently appointed lead counsel in two prominent antitrust/market-manipulation proceedings.
20   Consistent with these accomplishments, KM was ranked 7th in the SCAS Top 50 Report and was
21   one of 11 firms identified by Law360 in its inaugural list of the “Most Feared Plaintiff Firms”
22   (which covered the two-year period from July 2011 through July 2013).
23                           B. Lead Counsel Managed the CRT Case Efficiently
24      4. Because I was involved in the day-to-day operations and decisions, I can attest that Lead
25   Counsel ran the CRT case extremely capably and economically. For example, Lead Counsel was
26   in continual communication with me about the document reviews and deposition preparations I
27   lead throughout the case. If lawyers were not “up to snuff,” they were removed and/or replaced.
28                                              1
      ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
         PLAINTIFFS’ REPLY RE: MOTION FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF
                           LITIGATION EXPENSES, AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944 JST, MDL No. 1917
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1    Although this was rare, it demonstrated to me that Lead Counsel was primarily concerned with
2    having the best teams possible and ensuring top-notch results. And always mindful of unnecessary
3    lodestar, as projects became more tailored, Lead Counsel constricted the teams. Throughout
4    discovery and then trial preparation, Lead Counsel’s goal was always to have the smallest number
5    of qualified lawyers working on the case to meet whatever challenge we faced.
6       5. A case in point was Defendants’ discovery directed to Plaintiffs. Lead Counsel assigned
7    all aspects of this part of the case to me and asked me to handle it personally. Instead of a team of
8    lawyers and support staff from multiple firms working on and billing to the extensive project, I
9    collected documents from each client’s lawyers, assembled them, and produced them to
10   Defendants. I was also responsible for written discovery responses, corresponding and negotiating
11   with defense counsel, meeting with the class representatives, and defending most of their
12   depositions. When it was necessary, I asked one other experienced lawyer (Lawrence Papale) to
13   defend some of the depositions because the busy schedule did not permit me to handle them all.
14   Throughout this phase of the case I stayed in close contact with Lead Counsel who ensured that the
15   important tasks at hand were being done properly and efficiently without any duplication of effort.
16      6. In terms of costs, I have never worked on a case where Lead Counsel was more careful to
17   avoid excessive or unnecessary litigation expenses. Obtaining videos of depositions in preparation
18   for trial illustrates this point perfectly. First, Lead Counsel instructed me to obtain only the videos
19   that we were sure to use, and he directed me to have multiple conversations with the court
20   reporters’ billing departments to ensure that the Class received the best possible price for the
21   videos which, in the end and after numerous telephone calls and emails, it did. While these videos
22   were a relatively small percentage of the case’s overall expenses, this approach was consistent
23   with the way Lead Counsel limited wasteful spending throughout the case on items big and small.
24                C. Lead Counsel Assembled an Excellent Team of Experienced Lawyers
25      7. I take serious issue and strongly disagree with the objectors’ criticisms concerning the way
26   this litigation was managed. Unlike objectors who were distracted by other large cases, Lead
27   Counsel was laser-focused on the CRT case and its intricate legal issues from the case’s inception
                                                2
28    ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
         PLAINTIFFS’ REPLY RE: MOTION FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF
                           LITIGATION EXPENSES, AND INCENTIVE AWARDS
                                                          Case No. 3:07-cv-5944 JST, MDL No. 1917
Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 20 of 90
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              EXHIBIT E
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 1   Nathan Cihlar
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 2   4041 University Drive, Fifth Floor
     Fairfax, VA 22030
 3   ncihlar@straus-boies.com
 4   Counsel for Indirect Purchaser Plaintiffs
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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN FRANCISCO DIVISION
13   IN RE: CATHODE RAY TUBE (CRT)                 Case No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION                          MDL No. 1917
14
                                                   CLASS ACTION
15
                                                   ADDITIONAL DECLARATION OF NATHAN
16   This Document Relates to:                     M. CIHLAR IN SUPPORT OF PLAINTIFFS’
                                                   MOTION FOR AWARD OF ATTORNEYS’
17   All Indirect Purchaser Actions                FEES, REIMBURSEMENT OF LITIGATION
                                                   EXPENSES, AND INCENTIVE AWARDS TO
18                                                 CLASS REPRESENTATIVES
19
                                                   Hearing Date: March 15, 2016
20
                                                   Time: 2:00 p.m.
21                                                 Judge: Honorable Jon S. Tigar
                                                   Court: Courtroom 9, 19th Floor
22                                                 Special Master: Martin Quinn, JAMS

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             ADDITIONAL DECLARATION OF NATHAN M. CIHLAR IN SUPPORT PLAINTIFFS’
       MOTION FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND
                        INCENTIVE AWARDS TO CLASS REPRESENTATIVES
                                                    Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 23 of 90




 1           I, Nathan M. Cihlar, declare as follows:

 2           1.      I am a partner in the law firm Straus & Boies, LLP. I have personal knowledge of

 3   the facts stated in this declaration and, if called as a witness, I could and would testify competently

 4   to them. Based on my firm’s work in almost every aspect of this case, I make this declaration in

 5   support of Plaintiffs’ Motion for Award of Attorneys’ Fees, Reimbursement of Litigation

 6   Expenses, and Incentive Awards to Class Representatives.

 7           2.      Straus & Boies has extensive experience prosecuting major antitrust cases. We

 8   have served in several large nationwide indirect purchaser class actions as lead counsel (DRAM,

 9   MSG, Vitamins) and in other significant roles (LCD, SRAM, Polyester). Based on my experience,

10   I can state without reservation that Trump Alioto Trump & Prescott (“TATP”) ran this case in an

11   efficient and effective manner on par with, if not better than, many other cases in which I have

12   been involved. Under the stewardship of TATP, IPPs have achieved a result for the class that

13   speaks for itself.

14           3.      In a case of this magnitude where there is only one lead counsel assigned,

15   organization is imperative. TATP effectively managed this litigation and met the case needs by

16   identifying and working with a core group of experienced counsel. A network was established that

17   facilitated the constant exchange of information and routed assignments to firms depending on

18   who was in the best position to assist. From beginning to end, firms were called upon to fill roles

19   within their expertise. The management system ensured that each assignment was done efficiently

20   and that the overall strategy was being deployed.

21           4.      A core group of firms was established to help TATP streamline assignments, take

22   on important management roles and to help analyze the most critical issues in the case. This group

23   included Straus & Boies, Kirby McInerney, Zelle Hofmann and KAG Law Group, among others.

24   As a member of this team, Straus & Boies was given assignments that required us to facilitate

25   communication among the IPP firms and with other parties. As foreign discovery chair, my firm

26   was often called upon to provide crucial information to lead and other counsel for various aspects

27   at each stage of the litigation - a role similar to the one we served in the LCD litigation. In

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            ADDITIONAL DECLARATION OF NATHAN M. CIHLAR IN SUPPORT OF PLAINTIFFS’
       MOTION FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND
                        INCENTIVE AWARDS TO CLASS REPRESENTATIVES
                                                    Case No. 3:07-cv-5944-JST, MDL No. 1917
Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 24 of 90
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              EXHIBIT F
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 26 of 90




 1   DIANE E. PRITCHARD (State Bar No. 96999)
     VOGL MEREDITH BURKE LLP
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 4   dpritchard@vmbllp.com

 5   Counsel for Indirect Purchaser Plaintiffs

 6

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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN FRANCISCO DIVISION

11   IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION                        MDL No. 1917
12
                                                 CLASS ACTION
13
                                                 ADDITIONAL DECLARATION OF DIANE E.
14   This Document Relates to:                   PRITCHARD IN SUPPORT OF PLAINTIFFS’
                                                 APPLICATION FOR ATTORNEYS’ FEES,
15   All Indirect Purchaser Actions              EXPENSES AND INCENTIVE AWARDS

16                                               Hearing Date: March 15, 2016
                                                 Time: 2:00 p.m.
17                                               Judge: Honorable Jon S. Tigar
                                                 Court: Courtroom 9, 19th Floor
18                                               Special Master: Martin Quinn, JAMS

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             ADDITIONAL DECLARATION OF DIANE E. PRITCHARD IN SUPPORT OF PLAINTIFFS’
               APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                      Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 27 of 90




 1          I, Diane E. Pritchard, declare as follows:

 2          1.      I am an attorney licensed to practice before the courts of the State of California, am

 3   admitted to the bar of this Court, and am a partner in the law firm Vogl Meredith Burke LLP. I

 4   have personal knowledge of the facts stated in this declaration and, if called as a witness, I could

 5   and would testify competently to them. I make this additional declaration in support of Indirect

 6   Purchaser Plaintiffs’ Application for Attorneys’ Fees, Expenses and Incentive Awards.

 7          2.      I have been in practice, as a litigator, for nearly 35 years, including as a partner at a

 8   large firm (Morrison & Forester), as a Special Counsel at another large firm (O’Melveny &

 9   Myers), and as a partner in a small litigation firm I founded in Los Angeles and now in the firm of

10   Vogl Meredith Burke LLP in San Francisco. I have been litigating antitrust, class action, and other

11   complex litigation matters for much of my career, on both the defendant and the plaintiff sides.

12   Based on my experience litigating these cases over many years, I can say that the IPP class counsel

13   team of which I have been a part on this case has worked extraordinarily efficiently, cohesively,

14   and enthusiastically under the leadership of Lead Counsel Mario Alioto and his firm.

15          3.      Each firm or attorney was assigned particular tasks or areas, based on their

16   expertise and abilities, whether developing the factual record, analyzing the law, drafting or

17   opposing motions, pursuing written or deposition discovery, or trial preparation. I was assigned

18   the primary responsibility for the IPPs of merits depositions of two defendant groups, and in that

19   role I relied upon the work of the teams of attorneys analyzing the defendants’ and other

20   documents (including foreign language documents), marshalling the facts, and analyzing

21   applicable law, in the preparation for and taking of depositions in my assigned area. The attorneys

22   and firms on the IPP class counsel team with whom I worked were universally dedicated,

23   resourceful, willing and able to do whatever needed to be done whenever it needed to be done, and

24   unstinting in their support for the other team members, in our shared effort to obtain the best

25   possible result for the IPP class. Moreover, once I had developed expertise in my particular area,

26   by being the point person for the IPPs on the depositions of witnesses in two of the defendant

27   groups, I was called upon to contribute my knowledge thus gained and expertise to a variety of

28                                               1
                    DECLARATION OF DIANE E. PRITCHARD IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                            Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 28 of 90




 1   related tasks, including providing information and documents for depositions of other witnesses,

 2   participating in opposing motions for summary judgment, gathering evidence for the experts, and

 3   identifying and designating witnesses, documents, and deposition testimony for trial.

 4           4.      Throughout, the watchword was efficiency and non-duplication of effort. I

 5   understood very clearly from Lead Counsel and his firm members that each team member was

 6   assigned particular tasks and roles, and we were to be undertaking only those tasks assigned, and

 7   relying on other team members as needed for their expertise and work. The direction,

 8   management, and organization coming from Lead Counsel and his firm was of the highest quality,

 9   and it resulted in an extraordinarily efficient marshalling of resources and division of labor among

10   the various firms and attorneys contributing to the effort. I believe this encouraged the teamwork

11   that led to the excellent litigation effort and results in this case.

12           I declare under penalty of perjury that the foregoing is true and correct. Executed this 27th

13   day of October, 2015, in San Francisco, California.

14                                                              /s/ Diane E. Pritchard
                                                                      Diane E. Pritchard
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                     DECLARATION OF DIANE E. PRITCHARD IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944-JST, MDL No. 1917
Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 29 of 90




              EXHIBIT G
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 30 of 90




 1   Jennie Lee Anderson (SBN 203586)
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 4
     Counsel for Indirect Purchaser Plaintiffs
 5

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 9                               UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944-JST
13   ANTITRUST LITIGATION
14                                               MDL No. 1917
15                                               CLASS ACTION
     This Document Relates to:
16                                               ADDITIONAL DECLARATION OF JENNIE
     All Indirect Purchaser Actions              LEE ANDERSON IN SUPPORT OF
17                                               PLAINTIFFS’ APPLICATION FOR
                                                 ATTORNEYS’ FEES, EXPENSES AND
18                                               INCENTIVE AWARDS
19                                               Hearing Date: March 15, 2016
                                                 Time: 2:00 p.m.
20                                               Judge: Honorable Jon S. Tigar
                                                 Court: Courtroom 9, 19th Floor
21                                               Special Master: Martin Quinn, JAMS
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     ADDITIONAL DECLARATION OF JENNIE LEE ANDERSON IN SUPPORT OF PLAINTIFFS’ APPLICATION
     FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                     Case No. 3:07-cv-5944-JST, MDL No. 1917
     Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 31 of 90




 1            I, Jennie Lee Anderson, declare as follows:

 2            1.      I am an attorney licensed to practice before this Court and the courts of the State

 3     of California. I am a partner at the law firm of Andrus Anderson LLP in San Francisco,

 4     California. I have personal knowledge of the facts stated in this declaration and, if called as a

 5     witness, I could and would testify competently to them. I make this additional declaration in

 6     support of Indirect Purchaser Plaintiffs’ Application for Attorneys’ Fees, Expenses and Incentive

 7     Awards.

 8            2.      Prior to co-founding the law firm of Andrus Anderson LLP in 2007, I practiced

 9     complex and class litigation at the San Francisco offices of Lieff Cabraser Heimann & Bernstein

10     LLP and Robbins Geller Rudman & Dowd LLP. I have extensive experience representing

11     plaintiffs in antitrust, class action and other complex cases. As court-appointed co-lead counsel, I

12     have managed multiple state and nationwide class actions, resulting in significant recoveries for

13     the classes. I have also played an active role and worked cooperatively with co-counsel in

14     complex antitrust matters, including, most recently, In re Lithium Ion Batteries Antitrust

15     Litigation, where I serve as Liaison Counsel for the Indirect Purchaser Plaintiffs, In re TFT-LCD

16     (Flat Panel) Antitrust Litigation, In re Transpacific Passenger Air Transportation Antitrust

17     Litigation, and In re Domestic Drywall Antitrust Litigation.

18            1.      I have been counsel of record on behalf of Indirect Purchaser Plaintiffs (“IPPs”) in

19     this case since 2008. During that time, I have played a core role in the litigation. For example,

20     my firm handled discovery against the five Hitachi Defendants on behalf of the IPPs. This

21     included taking the lead in approximately fifteen (15) executive depositions, second chairing

22     additional depositions, drafting and arguing motions, and conducting negotiations relating to all

23     discovery and litigation matters relating to those defendants. I have worked closely with the

24     other plaintiffs groups in this case at the direction of Lead Counsel to maximize efficiencies and

25     conserve class resources. I also supervised discovery teams, drafted sections of dispositive and

26     core motions, and assisted in trial preparation and developing settlement strategies. See also,

27                                           1
28     ADDITIONAL DECLARATION OF JENNIE LEE ANDERSON IN SUPPORT OF PLAINTIFFS’ APPLICATION
       FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                      Case No. 3:07-cv-5944-JST, MDL No. 1917
     Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 32 of 90




 1     generally, Declaration of Jennie Lee Anderson in Support of Plaintiffs’ Application for

 2     Attorneys’ Fees, Expenses, and Incentive Awards.

 3            2.      During the course of my involvement in the case, I have worked closely with Lead

 4     Counsel and the other plaintiffs’ counsel who were actively involved in the case. Based on my

 5     experience litigating class actions and working with co-counsel across the country in multiple

 6     antitrust and consumer class actions, I can attest that Lead Counsel has organized and managed

 7     the prosecution of this case in an effective manner without compromising quality and vigor

 8     wherever needed to advance the interests of the class.

 9            3.      From the outset, Lead Counsel analyzed and pursued the most efficient means of

10     litigation, identifying the specific strengths of the firms and attorneys on the case, working

11     cooperatively with other plaintiffs’ groups, and applying the latest technologies available to them.

12     Lead Counsel also inspired a sense of team work, which drove members to litigate at the highest

13     level of performance and step in to assist the team whenever needed. I have been extremely

14     impressed with Lead Counsel’s management of the case throughout.

15            I declare under penalty of perjury that the foregoing is true and correct. Executed this

16     26th day of October, 2015 at San Francisco, California.

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18                                                   /s/     Jennie Lee Anderson
                                                             Jennie Lee Anderson
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28     ADDITIONAL DECLARATION OF JENNIE LEE ANDERSON IN SUPPORT OF PLAINTIFFS’ APPLICATION
                      FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                      Case No. 3:07-cv-5944-JST, MDL No. 1917
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              EXHIBIT H
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 34 of 90




     Daniel E. Birkhaeuser (SBN 136646)
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 5
     Counsel for Indirect Purchaser Plaintiffs
 6

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                                 UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                           SAN FRANCISCO DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)  Case No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION           MDL No. 1917
13
                                                 CLASS ACTION
14
                                                 ADDITIONAL DECLARATION OF DANIEL
15   This Document Relates to:                   E. BIRKHAEUSER IN SUPPORT OF
                                                 INDIRECT PURCHASER PLAINTIFFS’
16   All Indirect Purchaser Actions              MOTION FOR AWARD OF ATTORNEYS’
                                                 FEES AND EXPENSES
17
                                                 Hearing Date: March 15, 2016
18                                               Time:           2:00 p.m.
                                                 Judge:          Honorable Jon S. Tigar
19                                               Court:          Courtroom 9, 19th Floor
                                                 Special Master: Martin Quinn, JAMS
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      ADDITIONAL DECLARATION OF DANIEL E. BIRKHAEUSER IN SUPPORT OF INDIRECT PURCHASER
               PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES AND EXPENSES
                           Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 35 of 90




 1           I, DANIEL E. BIRKHAEUSER , declare as follows:

 2           1.     I am an attorney licensed to practice before the courts of California, and a partner in

 3   the law firm Bramson, Plutzik, Mahler & Birkhaeuser, LLP. I have personal knowledge of the

 4   facts stated in this declaration and, if called as a witness, I could and would testify competently to

 5   them.

 6           2.     I have practiced law for 27 years. The bulk of my practice has been devoted to

 7   antitrust and other class action matters. I began practicing at the law firm of McCutchen, Doyle,

 8   Brown and Enersen, where I represented defendants in class action cases. For the last 20 years, I

 9   have exclusively represented plaintiffs. I currently serve in leadership positions in indirect

10   purchaser antitrust cases and have done so in the past. I have also held positions of responsibility,

11   even where not lead counsel, as I did in this matter. Based upon my experience, I believe that this

12   case was managed in an efficient and practical manner. I also believe that the manner in which the

13   case was organized avoided unnecessary duplication of efforts.

14           3.     For example, once documents had been produced by Defendants, Lead Counsel

15   organized several document review teams to search for and review documents relating to specific

16   issues that were material to Plaintiffs’ case in chief. These specific issues were discussed and

17   vetted in advance. The issues were discrete and did not overlap. Lead Counsel appointed

18   experienced law firms to manage each of the review teams. Those firms performed searches of the

19   document database and managed the groups of attorneys that reviewed and coded documents.

20   Ultimately, each team produced a lengthy memo documenting the results of their findings. These

21   memos later proved extremely useful in preparing additional discovery to the Defendants,

22   responding to discovery propounded by Defendants, and drafting briefs to be filed with the Court.

23   Because the issues were discrete, there was little to no overlap in the work that each team

24   performed. Because Lead Counsel appointed experienced lawyers to review documents and

25   manage the teams’ progress, the work was accomplished efficiently. In my opinion, this was a

26   very efficient way to quickly review a massive database ultimately containing approximately eight

27   million pages of documents, and to produce work product that could be used for many purposes as

28                                                1
      ADDITIONAL DECLARATION OF DANIEL E. BIRKHAEUSER IN SUPPORT OF INDIRECT PURCHASER
               PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES AND EXPENSES
                              Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 36 of 90




 1   the case progressed.

 2          4.      Lead Counsel also assigned experienced law firms to manage the Indirect Purchaser

 3   Plaintiffs’ case against each Defendant (or Defendant group). In my opinion, this was another

 4   very efficient way manage a large case with many defendants. In consultation with Lead Counsel,

 5   each appointed firm was responsible for propounding discovery, identifying witnesses for

 6   deposition, reviewing appropriate documents, taking depositions, and preparing motions relating to

 7   its assigned Defendant. This permitted one firm to become the “expert” on a given Defendant

 8   group, to communicate with Lead Counsel as to the evidence obtained for a particular purpose, and

 9   to collaborate with other Defendant teams only when necessary.

10          5.      For example, Lead Counsel appointed my firm to be responsible for the Toshiba

11   Defendants (this included Toshiba Corporation, and its subsidiaries and affiliated companies in the

12   United States and abroad). Zelle Hofmann Voelbel & Mason LLP undertook responsibility,

13   among other things, for the Matsushita/Panasonic Defendants. As the facts in the case

14   demonstrated, Toshiba formed a joint venture with Matsushita in 2003 called Matsushita Toshiba

15   Picture Display Company (“MTPD”). Some important witnesses in the case thus began their CRT

16   careers with Toshiba and later became employees of the joint venture. My firm collaborated with

17   the Matsushita/Panasonic team extensively, especially with respect to selecting deponents and

18   taking depositions of these “cross-over witnesses.” The collaboration proved to be an extremely

19   efficient way to obtain evidence from witnesses that worked for multiple Defendants. Each firm

20   knew what evidence had already been obtained for its assigned Defendant group and what

21   evidence was still necessary to obtain. No law firm had to review prior discovery conducted by

22   others to make that determination.

23          6.      Lead Counsel also organized an incredibly efficient foreign language team lead by

24   the law firm of Straus & Boies, LLP when it was determined that many of the important

25   documents produced by Defendants were written in Chinese, Japanese, Taiwanese and other

26   foreign languages. The foreign language team interfaced with the attorneys responsible for

27   Defendant groups and assisted in identifying potential deponents and reviewing documents for use
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      ADDITIONAL DECLARATION OF DANIEL E. BIRKHAEUSER IN SUPPORT OF INDIRECT PURCHASER
               PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES AND EXPENSES
                              Case No. 3:07-cv-5944-JST, MDL No. 1917
Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 37 of 90
Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 38 of 90




                EXHIBIT I
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 39 of 90




 1   CRAIG C. CORBITT (83251)
     CHRISTOPHER T. MICHELETTI (136446)
 2   JUDITH A. ZAHID (215418)
     QIANWEI FU (242669)
 3   ZELLE HOFMANN VOELBEL & MASON LLP
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 6   cmicheletti@zelle.com
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 7   qfu@zelle.com

 8   Counsel for Indirect Purchaser Plaintiffs

 9

10                               UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                    SAN FRANCISCO DIVISION

13   IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION                        MDL No. 1917
14
                                                 CLASS ACTION
15
                                                 ADDITIONAL DECLARATION OF
16   This Document Relates to:                   CHRISTOPHER T. MICHELETTI IN
                                                 SUPPORT OF PLAINTIFFS’ APPLICATION
17   All Indirect Purchaser Actions              FOR ATTORNEYS’ FEES, EXPENSES AND
                                                 INCENTIVE AWARDS
18
                                                 Hearing Date: March 15, 2016
19                                               Time: 2:00 p.m.
                                                 Judge: Honorable Jon S. Tigar
20                                               Court: Courtroom 9, 19th Floor
                                                 Special Master: Martin Quinn, JAMS
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         ADDITIONAL DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF PLAINTIFFS’
               APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                               Case No. 3:07-cv-5944-JST, MDL No. 1917
       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 40 of 90




 1            I, Christopher T. Micheletti, declare as follows:

 2            1.     I am an attorney licensed to practice before the courts of the State of California, the

 3   United States District Courts for the Northern and Central Districts of California, and the United

 4   States Courts of Appeal for the Sixth, Seventh and Ninth Circuits. I am a partner in the law firm

 5   Zelle Hofmann Voelbel & Mason LLP (“Zelle”). I make this declaration based upon my own

 6   personal knowledge, based upon a review of the time, expense and other records of Zelle, and

 7   based upon a review of the docket, pleading and other filings in this matter. I make this

 8   supplemental declaration in support of indirect purchaser plaintiffs’ attorneys’ and my firm’s

 9   request for attorneys’ fees and reimbursement of litigation expenses.

10            2.     My firm is counsel of record in this case, and represents court-appointed class

11   representative plaintiff Kerry Lee Hall, as well as named plaintiffs Michael Juetten and Chad

12   Klebs.

13            3.     During the course of this litigation, my firm has been involved in extensive tasks

14   and activities on behalf of the indirect purchaser plaintiffs (“IPPs”). Many of these tasks are

15   described in my Declaration in Support of Plaintiffs’ Application for Attorneys’ Fees, Expenses

16   and Incentive Awards (Doc. No. 4073-3), filed September 23, 2015 (“Micheletti Decl.”),

17   paragraphs 6 - 35.

18            4.     In general, Zelle’s roles in this litigation included advising and assisting Lead

19   Counsel, from the outset of the case through 2015, with the overall case strategy and direction;

20   handling key elements of defendants’ pleading motions, including oral argument; major

21   responsibilities for electronic or E-discovery, including discovery-related protocols and database

22   processes; supervision and pursuit of defendant and third party transactional data and related

23   discovery; primary responsibility, with Lead Counsel, for virtually all aspects of the class

24   certification proceedings in this matter, including expert work, briefing and oral argument; taking

25   numerous Rule 30(b)(6) and fact/merits depositions of a major defendant group; primary

26   responsibility, with Lead Counsel, for all the expert work in the case, including IPPs’ and

27   defendants’ class certification reports, merits reports and expert discovery; and, significant roles in

28                                                 1
        SUPPLEMENTAL DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF PLAINTIFFS’
               APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                               Case No. 3:07-cv-5944-JST, MDL No. 1917
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 1   preparation for trial.

 2           5.      In connection with performing the above tasks, Zelle attorneys worked extensively

 3   with numerous firms and their attorneys representing the IPPs, including, among others, Lead

 4   Counsel, Trump, Alioto, Trump & Prescott, LLP, and a core group of supporting firms that

 5   included Zelle, Kirby McInerney, LLP and Straus & Boies, LLP. Based upon my experience in

 6   IPP cases, the work assignments handled by my firm and other IPP counsel were handled

 7   efficiently, cooperatively and cohesively. In addition, my firm was involved in efforts to work

 8   collaboratively and efficiently with the direct purchaser plaintiffs’ (“DPPs”) counsel (i.e., while

 9   DPPs were active in the case), and with the direct action plaintiffs’ (“DAPs”) counsel, in order to

10   avoid duplicative work and litigate the case efficiently for the IPPs. Based upon my experience in

11   IPP cases, IPP counsel were successful in increasing case efficiency through their efforts to work

12   collaboratively with other plaintiff groups.

13           6.      Lead Counsel assigned major litigation tasks in this case to my firm—including, but

14   not limited to, the work described in paragraphs 3 and 4 above—based upon the specific

15   experience, special knowledge and expertise Zelle possessed in specific areas based on work in

16   prior cases, including, but not limited to, In re: TFT-LCD (Flat Panel) Antitrust Litigation, No. M

17   07-1827 SI, MDL No. 1827, N.D. Cal. (the “LCDs Case”), In re Static Random Access Memory

18   (SRAM) Antitrust Litigation, MDL No. 1819, N.D. Cal. (the “SRAM Case”) and the Microsoft I-V

19   Cases, J.C.C.P. No. 4106 (San Francisco Super. Ct.). As a result, from May 2008 to March 2015,

20   Lead Counsel repeatedly and extensively conferred with Zelle regarding Zelle experiences and

21   successful strategies employed in the LCDs Case and other indirect purchaser cases involving

22   electronic component price-fixing claims. By so doing, Lead Counsel made efficient and effective

23   use of extensive and unique experience and valuable strategic insights Zelle possessed and that

24   would prove highly beneficial to the IPP classes and case prosecution, from the case inception to

25   final resolution. See also Micheletti Decl. ¶¶9, 11, 15, 26, 28 and 30 (referencing use of Zelle

26   prior case experience).

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28                                                 2
        SUPPLEMENTAL DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF PLAINTIFFS’
               APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
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 1          I declare under penalty of perjury that the foregoing is true and correct. Executed this the

 2   2nd day of November 2015, in San Francisco, California.

 3                                                         /s/Christopher T. Micheletti

 4                                                          Christopher T. Micheletti

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       SUPPLEMENTAL DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF PLAINTIFFS’
              APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
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               EXHIBIT J
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     LOVELL STEWART HALEBIAN AND JACOBSON LLP
 1   61 Broadway, Suite 501
 2   New York, New York 10006
     212-608-1900
 3
     Counsel for Indirect Purchaser Plaintiffs
 4

 5

 6                               UNITED STATES DISTRICT COURT

 7                            NORTHERN DISTRICT OF CALIFORNIA

 8                                    SAN FRANCISCO DIVISION

 9
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944
10   ANTITRUST LITIGATION                        MDL No. 1917

11                                               CLASS ACTION

12                                               SUPPLEMENTAL DECLARATION OF
     This Document Relates to:                   KEITH ESSENMACHER IN SUPPORT OF
13                                               INDIRECT PURCHASER PLAINTIFFS’
     All Indirect Purchaser Actions              MOTION FOR ATTORNEYS’ FEES,
14                                               REIMBURSEMENT OF LITIGATION
                                                 EXPENSES AND INCENTIVE AWARDS TO
15                                               CLASS REPRESENTATIVES

16                                               Judge: Honorable Samuel Conti
                                                 Courtroom One, 17th Floor
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28    SUPPLEMENTAL DECLARATION OF KEITH ESSENMACHER IN SUPPORT OF INDIRECT PURCHASER
      PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES AND
                         INCENTIVE AWARDS TO CLASS REPRESENTATIVES
                                             Case No. 3:07-cv-5944, MDL No. 1917
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 1          I, Keith Essenmacher, declare as follows:

 2          1.      I am an attorney licensed to practice before the courts of State of Michigan and

 3   Eastern District of Michigan, and a PARTNER in the law firm LOVELL STEWART HALEBIAN

 4   AND JACOBSON LLP. I have personal knowledge of the facts stated in this declaration and, if

 5   called as a witness, I could and would testify competently to them. I make this declaration in

 6   support of my firm’s request for attorneys’ fees and reimbursement of litigation expenses, as set

 7   forth in Indirect Purchasers Plaintiffs’ Motion for Attorneys’ Fees, Reimbursement of Litigation

 8   Expenses and Incentive Awards to Class Representatives.

 9          2.      My firm is counsel of record in this case, and represents named plaintiff LISA

10   REYNOLDS. A brief description of my firm’s resume, including a detailed description of all

11   Attorneys qualifications that had worked on this case is attached as Exhibit 1 and incorporated

12   herein by reference.

13          3.      Throughout the course of this litigation, my firm kept files contemporaneously

14   documenting all time spent, including tasks performed, and expenses incurred, and transmitted

15   those reports on a regular basis to Lead Counsel. All of the time and expenses reported by my firm

16   were incurred for the benefit of the Indirect Purchaser Plaintiffs (“IPPs”).

17          4.      During the course of this litigation, my firm has been involved in the following

18   tasks and activities on behalf of the IPPs. All of this work was assigned and/or approved by Lead
19   Counsel.

20          A. More than 70 percent of the hours of professional services that Lovell Stewart Halebian

21               Jacobson LLP (“Lovell Stewart”) performed on behalf of the Class were devoted to

22               document review and deposition preparation. Also, Lovell Stewart performed

23               professional services for the drafting of the initial complaints, was included in the

24               proposed leadership in the case, and later performed significant services in connection

25               with Plaintiffs’ opposition to the motions to dismiss, Plaintiffs’ class certification

26               motion and reply papers, and other discovery and pre-trial matters. A roughly
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      SUPPLEMENTAL DECLARATION OF KEITH ESSENMACHER IN SUPPORT OF INDIRECT PURCHASER
28    PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES AND
                         INCENTIVE AWARDS TO CLASS REPRESENTATIVES
                                                                        MDL 3:07-md-1827 SI
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 1           chronological, more detailed description of the professional services performed by

 2           Lovell Stewart is as follows.

 3        B. At the outset, Lovell Stewart researched Defendants, investigated their related

 4           companies, and searched for facts supporting antitrust violations by Defendants and

 5           resulting impact on indirect purchasers. Based thereon, Lovell Stewart drafted and

 6           filed initial complaints. Later, Lovell Stewart participated in the strategy sessions,

 7           performed investigation, and drafted language for various allegations in the amended

 8           and consolidated complaints filed in this action.

 9        C. Lovell Stewart conducted legal research on the service of process on foreign

10           defendants. We participated in conferences regarding that research with proposed co-

11           lead counsel. And we researched indirect purchaser issues under various States’ laws.

12        D. Lovell Stewart researched and drafted a motion for the JPML for consolidation and

13           transfer, with particular emphasis on FTAIA issues. Lovell Stewart appeared and

14           argued before the JPML on the consolidation and transfer motions.

15        E. After this Court appointed lead counsel, Lovell Stewart performed all subsequent

16           services at the direction of such lead counsel. One of the first assignments was to

17           investigate Defendants. We researched their corporate structures. We gathered

18           extensive company information from SEC filings, Bloomberg’s, and numerous
19           websites. We formulated a list of potential deponents.

20        F. Also after the Court appointed leadership, Lovell Stewart was assigned to and did

21           research and prepare discovery requests. This included subpoenas, interrogatories,

22           request for admissions, and requests to produce. Thereafter, Lovell Stewart likewise

23           reviewed, correlated and dealt with the responses to these requests.

24        G. Far more than any other task we performed in this case, Lovell Stewart was assigned to

25           and did review, code documents, and distill them for use in depositions. This included

26           the review, translation, coding and preparation for use at depositions of Japanese
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28   SUPPLEMENTAL DECLARATION OF KEITH ESSENMACHER IN SUPPORT OF INDIRECT PURCHASER
     PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES AND
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 1           documents. It included locating documents for deponents. It included the preparation

 2           of exhibits for deposition and trial, such as emails, charts, meeting agendas, and

 3           presentations. It included the review and distillation for use at deposition of documents

 4           from multiple other Defendants, non-parties and other sources.

 5        H. Lovell Stewart also participated and was instrumental in Plaintiffs’ general document

 6           review effort in this action. This included the initial choice, subsequent

 7           implementation, and effective use by all counsel of document coding software. We set

 8           up coders’ computers for document review. We answered document coders’ questions.

 9           We solved interface and computer problems that arose during document review.

10        I. Lovell Stewart researched and prepared the response to certain arguments made by

11           Defendants in their motions to dismiss, and strategized with co-lead counsel on related

12           issues on the motions to dismiss. This included researching and drafting a response to a

13           motion to dismiss specific indirect purchaser State statutory claims as well as common

14           law unjust enrichment claims. We participated in strategy conferences with leadership,

15           helped prepare for oral argument on Defendants’ motion to dismiss and at a case

16           management conference before the Court. Thereafter, we communicated with lead

17           counsel, where we gave our input on plaintiffs’ discovery program, trial preparation

18           and other issues.
19        J. Lovell Stewart gathered documents and other information sought by Defendants in

20           discovery from named Plaintiffs. We drafted discovery responses to Defendants’

21           discovery requests to Plaintiffs. We prepared clients for and represented them at

22           depositions. For example, Lovell Stewart represented its client, Lisa Reynolds, at her

23           deposition in Grand Rapids Michigan. Mrs. Reynolds was among those certified as a

24           class representative Plaintiff herein.

25        K. Lovell Stewart strategized and attended meetings and conference calls with lead

26           counsel regarding the class certification motion, class certification experts, and specific
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                                              3
28   SUPPLEMENTAL DECLARATION OF KEITH ESSENMACHER IN SUPPORT OF INDIRECT PURCHASER
     PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES AND
                        INCENTIVE AWARDS TO CLASS REPRESENTATIVES
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 1                class certification issues. We participated in strategy sessions with lead counsel and the

 2                experts for, and otherwise gave our input on the overall strategy for the class

 3                certification motion and reply brief. Also, we gave our input on numerous specific

 4                class certification issues, e.g., tracking monitor manufacturers who used CRT from

 5                Defendants, production capacity, production utilization, etc.

 6           L. Lovell Stewart prepared for the Indirect Purchaser Plaintiffs’ F.R.Civ.P. Rule 30(b)(6)

 7                depositions of the Defendants Corporation. Here, our preparation included review of

 8                documents and materials, review of other transcripts, and communicating with co-lead

 9                counsel about pertinent testimony that had occurred prior to these depositions.

10           M. Finally, Lovell Stewart conferred with its clients on developments in the case, including

11                settlements and decisions by the Court. And we prepared our named class

12                representative for trial testimony by mock questioning and interviews.

13           5.      The schedule attached as Exhibit 2, and incorporated herein, is a detailed summary

14   of the amount of time spent by my firm’s partners, attorneys and professional support staff who

15   were involved in this litigation. It does not include any time devoted to preparing this declaration

16   or otherwise pertaining to the Joint Fee Petition. The lodestar calculation is based on my firm’s

17   historical billing rates in effect at the time services were performed and current rates are on a

18   separate table. Exhibit 2 was prepared from contemporaneous time records regularly prepared and
19   maintained by my firm. Those records have been provided to Lead Counsel and I authorize them

20   to be submitted for inspection by the Court if necessary. The hourly rates for my firm’s partners,

21   attorneys and professional support staff included in Exhibit 2 were at the time the work was

22   performed the usual and customary hourly rates charged for their services in similar complex

23   litigation and the current rates of the firm.

24           6.      The total number of hours reasonably expended on this litigation by my firm from

25   inception to May 31, 2015 is 7350.0 hours. The total lodestar for my firm at historical rates is

26   $3,194,982.50. The total lodestar for my firm at current rates is $3,520,882.35. Expense items are
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28    SUPPLEMENTAL DECLARATION OF KEITH ESSENMACHER IN SUPPORT OF INDIRECT PURCHASER
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 1   billed separately and are not duplicated in my firm’s lodestar.

 2          7.      The expenses my firm incurred in litigating this action are reflected in the books

 3   and records of my firm. These books and records are prepared from expense vouchers, invoices,

 4   receipts, check records and other source materials and accurately reflect the expenses incurred.

 5   My firm’s expense records are available for inspection by the Court if necessary.

 6          8.      My firm incurred a total of $172,571.59 in unreimbursed expenses, all of which

 7   were reasonable and necessary for the prosecution of this litigation. Of this amount, $125,000.00

 8   was for assessment payments for common litigation expenses or direct payments to experts or

 9   other vendors made at the request of Lead Counsel, and an additional $47,571.59 was for non-

10   common litigation expenses incurred by my firm, such as travel, meals and lodging, copying, legal

11   research, telephone, etc. A summary of those expenses by category is attached as Exhibit 3.

12

13          I declare under penalty of perjury that the foregoing is true and correct. Executed this 12th

14   day of November, 2015, in Rockford, Michigan.

15                                                    /s/

16                                                                     [SIGNATURE]

17                                                          Keith Essenmacher
                                                            LOVELL STEWART HALEBIAN AND
18                                                          JACOBSON LLP
19                                                          61 Broadway, Suite 501
                                                            New York, New York 10006
20                                                          212-608-1900

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28    SUPPLEMENTAL DECLARATION OF KEITH ESSENMACHER IN SUPPORT OF INDIRECT PURCHASER
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                  Exhibit 1
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                                            EXHIBIT 1

LOVELL STEWART HALABIAN AND JACOBSON LLP FIRM RESUME

        Lovell Stewart Halebian Jacobson LLP (“Lovell Stewart”) and its predecessors
(collectively the “Firm”) have been privileged to have been appointed to serve as class counsel
and prosecute complex actions since 1980. See www.lshllp.com (Firm website).

        Lovell Stewart is the premier class action law firm prosecuting claims involving
commodity manipulation and price fixing, and exchange related antitrust claims. To the best of
Lovell Stewart’s knowledge, the Firm is the first and only plaintiffs’ law firm to do any of the
following: (a) argue to the United States Supreme Court successfully to uphold the private right
of action under the Commodity Exchange Act, 7 U.S.C §1, et seq. (“CEA”); (b) try a CEA
manipulation claim successfully; (c) argue successfully for class certification of such claim in a
Court of Appeals; and (d) argue for and successfully establish the viability of CEA manipulation
allegations from the time that the claim itself arguably did not exist until its well-accepted status
today. See infra.

        The Firm believes that the best indicator of an attorney’s experience serving as class
counsel, is the net recovery to the client that the attorney produces. The Firm believes that lesser
indicators of such attorney experience include the following: (1) the amounts of the class action
settlements the attorney produces relative to other such settlements under the same statute;(2) the
difficulty or complexity of the cases handled; and (3) whether the attorney’s work on behalf of
the class has contributed significantly to the development of the law.

        The Net Recovery to the Client. Reportedly, the amount of recovery in financial class
actions varies, but averages approximately 5-10 percent of class member losses.

        The Firm, as court-appointed lead or co-lead counsel for the class, has succeeded in
obtaining (so far) seven different class action settlements that recovered, after deduction for all
costs and attorneys’ fees, 100¢ on each dollar of losses1 of each claiming class member:

         In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 471 (S.D.N.Y. 1998);
         In re Sumitomo Copper Litig., 74 F. Supp. 2d 393, 395 (S.D.N.Y. 1999);
         Blatt v. Merrill Lynch Fenner& Smith Inc., 94 Civ. 2348 (JAG) (D.N.J.);
         In re Soybeans Futures Litig., 89 Civ. 7009 (CRN) (N.D. Ill.);
         In re BP Propane Indirect Purchaser Antitrust Litig., 06-cv-3541 (JBZ)(N.D. Ill.);
         Kaplan v. E.F. Hutton Group, Inc., et al., Civ. No. 88-00889 (N.Y. Sup. Ct.); and
         Krome v. Merrill Lynch and Co., Inc.,85-cv-765 (DNE)(S.D.N.Y).




1
 “Losses” means single, actual damages, exclusive of trebling and also exclusive of any
prejudgment interest.
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        Gross Recoveries Relative to Other Settlements Under The Same Statute. Three of
the above mentioned settlements represented, at the time the settlement was made, the largest
class action settlement in the history of the law under which the claim was brought. These were,
respectively, the federal antitrust laws,2 the CEA3and the Investment Company Act, 15 U.S.C.
§80a-1, et seq.4 Also, one of the Firm’s senior partners was a court-appointed member of the
Executive Committee in the price-fixing case which obtained what was then the second largest
class action settlement in the history of the federal antitrust laws.5

        And the Firm, as court-appointed sole lead or co-lead counsel for classes alleging
commodity futures manipulation, has produced what were and still are the largest6, the second
largest7, the third largest8 and the fourth largest9class action recoveries in the history of the CEA.

        Further, the Firm has been privileged to serve as court-appointed class counsel in antitrust
cases in which billions of dollars have been recovered10and has also acted as an executive
member in antitrust or non-CEA manipulation class actions in which significant settlements have
been achieved. Compare In re TFT-LCD (Flat Panel) Antitrust Litig., Case No., MDL 1827
(N.D. Cal.) (settlements in excess of $1.1 billion) with In re IPO Securities Litig., 21 MC 92
(S.D.N.Y.) ($586,000,000 in settlements).




2
  SeeNASDAQ, 187 F.R.D. at 471 (“this all-cash settlement [for $1,027,000,000], achieved
through ‘four years of hard-fought litigation,’ apparently is the largest recovery (class action or
otherwise) in the hundred year history of the state and federal antitrust laws.”).
3
  Sumitomo, 74 F. Supp. 2d at 395 (“The recovery is the largest class action recovery in the 75
plus year history of the Commodity Exchange Act”).
4
  Blatt, 94 Civ. 2348 (JAG) (D.N.J.) (“by far the largest settlement” of class action claims under
the Investment Company Act, Securities Class Action Alert letter dated August 17, 2000).
5
  In re Brand Name Prescription Drugs Antitrust Litig., No. 94 C 897 (N.D. Ill.) ($696,657,000
plus other relief was obtained.)
6
  Sumitomo, 74 F. Supp. 2d at 395 (the Firm acted as sole lead counsel).
7
  Kohen v. Pac. Inv. Mgmt. Co. LLC, 244 F.R.D. 469 (N.D. Ill., 2007), aff'd, 571 F.3d 672
(Posner, J.), cert. denied, 130 S. Ct. 1504 (2010)(Final Judgment and Order 05 C 4681, filed
May 2, 2011 approving $118,750,000 settlement with the Firm acting as sole lead counsel).
8
  In re Natural Gas Commodities Litig., 231 F.R.D. 171 (S.D.N.Y. 2005), petition for review
denied, 05-5732-cv (2d Cir. Aug. 1, 2006)(in other orders in this case,$100,800,000 in
settlements were approved).
9
  In re Amaranth Natural Gas Commodities Litig., 07 Civ. 6377 (S.D.N.Y.) ($77,100,000
settlement as co-lead counsel).
10
   E.g., NASDAQ, fn. 2 supra; In re Brand Name Prescription Drugs Antitrust Litig., fn. 5 supra;
In re Auction Houses Antitrust Litig., 00 Civ. 0648 (LAK) (S.D.N.Y.) ($512,000,000 in
settlements); In re Dynamic Random Access Memory (“DRAM”) Antitrust Litig., MDL No. 1486
(N.D. Cal.) ($313,000,000 in settlements); Sullivan, et al. v. DB Investments, Inc., et al., 04 Civ.
2819 (SRC) (D.N.J.) ($295,000,000 in settlements); Precision Associates, Inc. v. Panalpina
World Transport, 08 Civ. 0042 (JG) (VVP) (E.D.N.Y.) (settlements in excess of $295,000,000 to
date).
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         The Firm also has been told that it is the only “plaintiffs’ law firm” to successfully bring
to trial antitrust claims in the “Mother Court,” the United States District Court for the Southern
District of New York. See “Degree of Complexity” below.

         Finally, the Firm has particularly deep experience with price fixing and manipulation
claims involving exchange traded instruments. The Firm obtained, as court-appointed co-lead
counsel, what was then the largest and, in the exchange or over the counter market context, still
is the largest class action recovery in the history of the antitrust laws. NASDAQ, 187 F.R.D. at
471.
         Degree of Difficulty or Complexity. The Firm believes that a very important indicator
of an attorney’s experience, is the difficulty or complexity of the cases that the attorney has
prosecuted. The degree of difficulty or complexity is somewhat subjective. But the Firm is
particularly proud of its not just prosecution but, in some instances, trials of various cases that
have been recognized by the Courts as difficult and complex.

        These include difficult federal antitrust cases that have involved both an antitrust claim
and a claim under another statute in the same case. For one example, after the Department of
Justice decided not to bring price-fixing claims under the federal antitrust laws and after the
federal agency regulating commodity futures(the Commodity Futures Trading Commission
(“CFTC”)) lost a trial seeking to prove attempted manipulation, the Firm tried and won all
damages requested in a three week jury trial on claims for price-fixing and manipulation. Strobl
v. New York Mercantile Exch., 582 F. Supp. 770 (S.D.N.Y. 1984). The Firm sustained the
verdict against motions for j.n.o.v. and new trial, and all appeals. Id.aff’d, 768 F.2d 22 (2d Cir.
1985), cert. denied sub nom., Simplot v. Strobl,474 U.S. 1006 (1985).

        At the successful conclusion of the Strobltrial, then Chief Judge Lloyd F. MacMahon
stated to the Firm’s senior partner, Mr. Lovell, and defendants’ counsel, the late Peter Fleming
Esq.: “You both tried a very difficult case very well.”Strobl,Trial Tr., November 17, 1983, at
1253:4-5.

        The Firm successfully conducted another very difficult antitrust trial, this one to the
Court in the Southern District of New York. This trial was interrupted by, before the last trial
session, and produced(in the Firm’s opinion), or at least helped produce, class action settlements
that granted substantial prompt injunctive relief in the United States’ diamond market as well as
substantial monetary relief.11 The Firm knows of no other plaintiffs’ firms that have successfully
tried antitrust cases in the “Mother Court.”


11
  In Leider v. Ralfe, No. 01 Civ. 3137 (S.D.N.Y.), the Firm filed the first class action on behalf
of consumers alleging price fixing and monopolization by DeBeers in violation of the antitrust
laws. The Firm was named sole class counsel for the certified class. Leider, 2003 WL 22339305
(S.D.N.Y. 2003) (certifying for class treatment plaintiffs’ claims for injunctive relief under the
Wilson Tariff Act and Sections 1 and 2 of the Sherman Act). Shortly before the last day of the
trial of the final injunction inquest, the defendants settled companion class actions and obtained
an adjournment of the completion of the Leiderclass action trial. They then settled Leideras well
and the casewas transferred to the United States District Court for the District of New Jersey, No.
06-cv-00908 (SRC).
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       The Firm has also received favorable comments from other District Court Judges about
the Firm’s performance in overcoming the difficulties and complexities of cases. For example,
the Firm is most proud of the comments it received from one of the great District Court Judges,
the Honorable Milton Pollack. Judge Pollack appointed the Firm as sole lead counsel and later
took the trouble to comment on its work in a complex class action as follows:

                The unprecedented effort of Counsel exhibited in this case led to their
        successful settlement efforts and its vast results. Settlement posed a saga in and of
        itself and required enormous time, skill and persistence. Much of that phase of
        the case came within the direct knowledge and appreciation of the Court itself.
        Suffice it to say, the Plaintiffs' counsel did not have an easy path and their services
        in this regard are best measured in the enormous recoveries that were achieved
        under trying circumstances in the face of natural, virtually overwhelming,
        resistance. The negotiation of each settlement that was made was at arm's length
        and exhibited skill and perseverance on the part of lead counsel and an evident
        attempt to gain for the Class the optimum settlement figures that could be reached.

Sumitomo,74 F. Supp. 2d at 396 (emphasis added).

        The Firm believes that the “effort” and “skill and perseverance” that Judge Pollack found
that the Firm exhibited in Sumitomo, are also what has helped the Firm to obtain 100¢ on the
dollar settlements for its clients, successfully try antitrust cases, and otherwise produce favorable
results for its clients in very difficult and complex antitrust and other cases.

        The Firm has been privileged to repeatedly be appointed to serve as lead counsel or co-
lead counsel in class actions involving claims arising under the CEA, federal and/or state
antitrust laws and other statutes. For example:

              In re Platinum and Palladium Commodities Litig.,10 Civ. 3617 (S.D.N.Y.)
               (WHP), Dkt. No. 18 (the Firm was as appointed sole lead counsel where it
               obtained settlements valued in excess of $70 million for the class for claims
               alleging manipulation in violation of the CEA and price fixing in violation of the
               Sherman Act);
              In re Dairy Farmers of America, Inc., Cheese Antitrust Litig., 09 Civ. 3690 (N.D.
               Ill.) (RMD), Dkt. No. 413 (the Firm was appointed as class counsel on a contested
               motion, and later was appointed as sole lead counsel, where it obtained a
               settlement of $46 million for the class on claims alleging manipulation in
               violation of the CEA and price fixing in violation of the Sherman Act);



       This settlement produced prompt substantial injunctive relief for the United States
diamond markets as well as a substantial financial settlement, which was contested on appeal
even as the injunctive relief remained in effect. The Third Circuit ultimately approved the
settlement. Sullivan v. DB Investments, Inc., 667 F.3d 273 (3rd Cir. Dec. 20, 2011), cert. denied,
132 S.Ct. 1876, petition for rehearing denied, 132 S.Ct. 2451 (2012).
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              Precision Associates, Inc. v. Panalpina World Transport, 08 Civ. 0042 (JG)
               (VVP) (E.D.N.Y.) (the Firm serves as co-lead counsel and has obtained
               settlements in excess of $295,000,000 to date on claims alleging conspiracies to
               fix prices in violation of the Sherman Act);
              In re Potash Antitrust Litigation, 08-cv-6910, (RC) (the Firm served as co-lead
               counsel for the indirect purchasers and obtained settlements in excess of $20
               million for the class on claims for conspiracy to fix prices).
              In re Crude Oil Commodity Futures Litig., 11-cv-3600, Docket No. 42 (Feb. 14,
               2012) (S.D.N.Y.) (the Firm was appointed as co-lead counsel on a contested
               motion and obtained a proposed settlement of $16.5 million for the class on
               claims alleging manipulation in violation of the CEA and monopolization in
               violation of the Sherman Act);
              In re Optiver Commodities Litig., 08 Civ. 6842 (S.D.N.Y.) (the Firm serves as co-
               lead counsel and obtained a proposed settlement of $16.75 million for the class on
               claims alleging manipulation in violation of the CEA);
              Anwar, et al. v. Fairfield Greenwich Limited, et al., 09-cv-0118 (the Firm serves
               as co-lead counsel and has obtained partial settlements as to one group of
               defendants in the aggregate amount of $80,250,000 on claims alleging that
               Bernard Madoff manipulated reports of financial results in respect of Fairfield
               Greenwich securities);
              In re Term Commodities Cotton Futures Litig., No. 12 Civ. 5126 (S.D.N.Y.)
               (ALC), Dkt. No. 14 (the Firm serves as sole lead class counsel in case alleging
               manipulation in violation of the CEA); and
              In re LIBOR-Based Financial Instruments Antitrust Litig., 11-md-2262
               (S.D.N.Y.) (the Firm was appointed as co-lead counsel for exchange trader
               plaintiffs in case involving claims for manipulation in violation of the CEA and
               restraints of trade in violation of the Sherman Act).

        Development of the Law. The Firm’s senior partner, Christopher Lovell, argued in the
United States Supreme Court and eight Circuit Courts of Appeal. Also, the Firm briefed, and
named partner Gary Jacobson successfully argued, the first appeal in the United States reversing
a dismissal of price fixing claims under Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).See
Starr v. Sony BMG Music Entm’t, 592 F.3d314 (2d. Cir. 2010), cert. denied, 131 S.Ct. 901
(2011).
       When the Firm began, there was considerable precedent holding that antitrust claims
were preempted or otherwise not actionable in the commodity futures12and securities13 contexts,
and also holding that there was no private right of action under the CEA for manipulation.14 But

12
   Comparee.g.,Schaefer v. First Nat. Bank of Lincolnwood, 509 F.2d 1287 (C.A. Ill.) (1975)
withLiang v. Hunt, 477 F. Supp. 891 (N.D. Ill. 1979) (denying any right of action under CEA or
antitrust laws for soybeans class).
13
   Gordon v. New York Stock Exchange, Inc., 422 US 659 (1975).
14
   National Super Spuds, Inc. v. New York Mercantile Exch., 470 F.Supp. 1256, (D.C.N.Y. 1979)
rev’d sub nomLeist v. Simplot, 638 F.2d 283 (2d Cir. 1980) (Friendly, J.), aff’d Merrill Lynch,
Pierce, Fenner& Smith, Inc. v. Curran, 456 U.S. 353 (1982).
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the Firm was privileged to do the following:
       (1)     In 1981, the Firm authored asuccessful U.S. Supreme Court brief and made a
               successful argument in the Supreme Court in the original case which implied a
               private right of action under the CEA for manipulation, Merrill Lynch, Pierce,
               Fenner & Smith, Inc. v. Curran, 456 U.S. 353 (1982).

       (2)     In 1982, the Firm prepared a statement and a former partner testified before the
               Congressional Subcommittee concerning what became the express private right of
               action under Section 22 of the CEA. 7 U.S.C. § 25.15Today, CEA manipulation
               claims are still brought under this section.

       (3)     After prevailing on remand on the federal antitrust claims in the Strobltrial, the
               Firm then successfully briefed and argued on appeal that the federal antitrust
               claims were not preempted by the CEA. Strobl,768 F.2d at 28 supra.

       (4)     In 1997-98, the Firm and its co-lead counsel produced the NASDAQ antitrust
               settlements in the securities market context. This occurred after both the plaintiffs
               and the defendants had argued to the Department of Justice and other federal
               agencies about whether these antitrust claims were preempted.

        As a result, today, unlike when the Firm started, claims for price fixing under the federal
antitrust laws and manipulation under the CEA are well recognized for losses suffered on
exchange traded futures contracts.

        In addition to Strobl and Starr, other notable antitrust appeals that the Firm has argued
include a case in which Lovell Stewart was appointed as Chair of the Executive Committee on
price-fixing claims in another exchange market case. In re IPO Antitrust Litig., 287 F. Supp. 2d
497 (S.D.N.Y. Nov. 3, 2003), reversed, Billing v. Credit Suisse First Boston Ltd., 426 F.3d 130
(2d Cir. 2005) (“epic Wall Street conspiracy”), rev’d, 551 U.S. 264, 127 S. Ct. 2383 (2007)
(federal antitrust claims preempted). In this complex case, the Firm made the plaintiffs’
unsuccessful argument in the District Court, successful argument to the Court of Appeals, and
the unsuccessful argument to the Supreme Court.

        An important part of the law in manipulation and antitrust class actions is that concerning
the certification of the class under Rule 23. The Firm co-authored the brief on the class motion
in NASDAQ. The Court issued an oft-cited decision certifying a very substantial class of
seventeen hundred different class securities. NASDAQ, 172 F.R.D. 119 (S.D.N.Y. 1997). The
Firm has also successfully briefed and argued the first appeal and almost all of the attempted
petitions for review of decisions certifying classes on commodity futures manipulation claims
under Rule 23:



15
  See Statement of Leonard Toboroff, Before The Sub-committee On Oversight And
Investigations of The Committee On Energy And Commerce, 97th Cong., 2d Sess. 584-603 (Jun.
7, 1982).
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       •       PIMCO, 244 F.R.D. 469 (N.D. Ill. 2007), aff’d 571 F.3d 672 (7th Cir. July 7,
               2009) (Posner J.) petition for rehearing and rehearing en banc denied (7th Cir.
               July 31, 2009) petition for certiorari denied 130 S.Ct. 1504 (2010).

       •       In re Sumitomo Copper Litig., 182 F.R.D. 85 (S.D.N.Y. 1998); In re Sumitomo
               Copper Litig., 194 F.R.D. 480 (S.D.N.Y. 2000), appeal denied, 262 F.3d 134 (2d
               Cir. 2001).

       •       In re Amaranth Natural Gas Commodities Litig., 269 F.R.D. 366 (S.D.N.Y.
               2010), petition for leave to appeal denied sub nom. Amaranth Advisors, LLC, et
               al. v. Roberto E. CalleGracey, et al., No. 10-4110-mv (2d Cir. Dec. 30, 2010).

       •       In re Natural Gas Commodities Litig., 231 F.R.D. 171(S.D.N.Y. 2005), petition
               for leave to appeal denied sub nom. Cornerstone Propane Partners, L.P., et al. v.
               Reliant Energy Services, Inc., et al., No. 05-5732-cv (2d Cir. Aug. 1, 2006).

        The Firm’s senior partner, Christopher Lovell, has successfully tried and argued on
appeal three manipulation cases that resulted in significant decisional law: (1) Strobl, supra; (2)
In the Matter of Harold Collins, et al., CFTC no. 77-15 (C.F.T.C Feb 3, 1984), 1986 WL 66165
(C.F.T.C. Apr. 4, 1986), clarification granted, 1986 WL 289309 (C.F.T.C. Nov. 26, 1986),
reversed sub nom., Stoller v. Commodity Futures Trading Comm’n, 834 F.2d 262 (2d Cir. 1987);
and (3) Black v. Finantra, 418 F. 3d 203 (2d Cir. 2005) (trade manipulation in securities market).

Bloomberg Markets’ magazine has reported about Christopher Lovell as follows:

              To classify Pacific Investment Management Co. [formerly managed by CEO and
       founder Bill Gross] as a large mutual fund family does it little justice. Its $747 billion in
       bond assets almost matches the gross domestic product of Australia.

                                                  *****
             Pimco has found itself up against a formidable opponent in [Christopher] Lovell.
       What [Bill] Gross is to the world of Bonds, [Christopher] Lovell is to commodities
       manipulation and price-fixing lawsuits.


Seth Lubove and Elizabeth Stanton,Pimco Power in Treasuries Prompts Suit, BLOOMBERG
MARKETS, February 20, 2008 (April 2008).

         Beyond antitrust and CEA manipulation law, the Firm has been privileged to contribute
to the law pertinent to manipulation in other ways. This includes by successfully trying or
prosecuting many securities manipulation cases. The Firm successfully tried and obtained a jury
verdict for securities manipulation in Black v. Finantra Capital, Inc., et al., 01 Civ. 6819
(S.D.N.Y.) (JSR). Although the District Court vacated the verdict, the Second Circuit Court of
Appeals reinstated it, Black v. Finantra, 418 F. 3d 203 (2d Cir. 2005), leading to a settlement
before the final judgment was entered.
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       For another example, in In re IPO Securities Litig., 21 MC 92 (S.D.N.Y.), the Firm
served as de facto co-lead counsel in the consolidated 308 class actions alleging fraud and
manipulation under the federal securities laws resulting in a settlement of $586,000,000. See In
re IPO Securities Litig., 671 F.Supp.2d 467, 2009 WL 3397238 at *4, n.35 (S.D.N.Y. October 5,
2009).

         Relatedly, the Firm has also been privileged to solve problems and contribute to the
development of the law in contexts outside antitrust and manipulation claims. For one example,
in Fiala, et al. v. Metropolitan Life Insurance Company, et al., Index No. 601181/00 (N.Y. Sup.
Ct. N.Y. County), the Firm was appointed as Chairman of co-lead counsel in a class action
alleging violations of New York Insurance Law. This resulted in the first certified class and the
first settlement under New York’s demutualization statute. See Fiala v. Metropolitan Life
Insurance Co., 776 N.Y.S.2d 29 (1st Dep’t 2004); Fiala v. Metropolitan Life Insurance Co., Slip
Op., 2006 WL 4682149 (N.Y. Sup. Ct., May 2, 2006 N.Y. County) (certifying the class).

       For another example, the Firm successfully argued Grandon v. Merrill Lynch & Co. Inc.,
147 F.3d 184, 192-3 (2d Cir. 1998), which was the first case to impose a duty on brokers to
disclose excessive mark ups on their sales of bonds.

         Finally, the Firm’s senior partners are entering their prime working years such that the
attorneys who originally produced the good results for the Firm, are the same one who are now
litigating or managing the litigation of the clients’ claims.

                                              *****

Individual biographies of the Firm’s primary attorneys are set forth below.



Christopher Lovell—Partner
       Chris graduated from New York University School of Law in 1976, receiving the
Vanderbilt Award, and worked at a Wall Street law firm successfully defending antitrust and
CEA claims in private and government actions between 1977 and 1980, including a successful
defense at trial of charges of manipulation in violation of the Commodity Exchange Act. In re
Harold Collins, et al., CFTC No. 77-15, 1984 WL 48079 (CFTC Feb. 3, 1984).

        Chris founded the Firm in 1980 and has been privileged to be selected to try more than
sixty (60) cases and serve as lead or co-lead class action counsel in more than fifty actions.

        Chris was the first plaintiffs’ lawyer to try successfully antitrust price fixing and
manipulation claims in the U.S. District Court for the Southern District of New York. Chris
prepared the briefs for the Firm’s successful argument in the U.S. Supreme Court that a private
right of action for manipulation should be implied under the Commodity Exchange Act. Merrill
Lynch, Pierce, Fenner & Smith, Inc. v. Curran, 456 U.S. 353 (1982).
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       Chris is an Advisory Board Member of the Center on Civil Justice at New York
University Law School, a member of the Justice Circle of the Aspen Institute Justice & Society
Program, and other charitable organizations.


Gary S. Jacobson—Partner
       Gary is the Chairman of the Firm’s antitrust department. Gary is a 1972 graduate of Yale
College (A.B. with Honors), where he served as Chairman of the Yale Record. Gary is also a
1976 graduate of the University of Virginia Law School (J.D.), where he served as a member of
the board of editors of the Virginia Law Review (1974-76).

        Gary has been litigating antitrust cases since the Uranium Antitrust Litigation (N.D.Ill.)
case in 1979; made the successful oral argument in the Second Circuit Court of Appeals in Starr
v. Sony BMG Music Entertainment, 592 F.3d 314 (2d Cir. 2010), resulting in the first appellate
reversal of an order dismissing an antitrust class action complaint under the Supreme Court’s
Bell Atlantic Corp. v. Twombly decision; made the successful oral argument in the Southern
District of New York in opposition to the motion to dismiss in the Sumitomo Copper Litigation,
995 F. Supp. 451 (S.D.N.Y. 1998) commodity manipulation class action; made the successful
oral argument in the Second Circuit Court of Appeals in Grandon v. Merrill Lynch, 147 F.3d 184
(2d Cir. 1998), resulting in the appellate reversal of an order dismissing a securities fraud class
action complaint and holding for the first time that the “shingle theory” applied to municipal
bond transactions.

        Gary has actively litigated many of the Firm’s price-fixing or commodities manipulation
class actions, including playing a principal role in In re LIBOR-Based Financial Instruments
Antitrust Litig., MDL No. 2262 (NRB) (S.D.N.Y.); Precision Assoc., Inc. v. Panalpina World
Transport (Holding) Ltd. (Freight Forwarders Antitrust Litig.), 08 Civ. 0042 (JG)(VVP),
(E.D.N.Y.); In re Dynamic Random Access Memory (“DRAM”) Antitrust Litig., MDL No.
1486(PJH) (N.D.Cal.); Leider v. Ralfe (DeBeers Diamond Jewelry Antitrust), 01 Civ. 3137 (HB)
(S.D.N.Y.); In re Compact Disc Minimum Advertised Price Antitrust Litig., MDL No. 1361
(D.Me.); In re Microsoft Litig., MDL No. 1332 (D.Md.); In re Dairy Farmers of America Cheese
Antitrust Litig., 09-cv-3690 (N.D.Ill.); In re TFT-LCD (Flat Panel) Antitrust Litig., 07 cv 1827-
SI (N.D.Cal.); In re Initial Public Offering Antitrust Litig., (Credit Suisse First Boston Ltd. v.
Billing), No. 05-1157 (U.S.Sup.Ct.); In re Platinum and Palladium Commodities Litig., 10 Civ.
3617 (WHP) (S.D.N.Y.); Kohen v. Pacific Investment Management Co., LLC, 05 C 4681
(N.D.Ill.); and In re Natural Gas Commodity Litig., 03 Civ. 6186 (VM) (S.D.N.Y.).

        Gary has tried more than twenty-five cases in federal and state courts, including acting as
lead or sole trial counsel in cases involving claims of unfair competition, RICO, Lanham Act,
patent infringement, misappropriation of trade secrets, negotiable instruments, sales and
warranties, breach of fiduciary duty, fraudulent conveyance, and personal injury.

         Gary is a member of the board of trustees of the Mianus River Gorge, Inc., a not-for-
profit land conservation and education organization.
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Jody R. Krisiloff—Partner
       Jody is a 1976 graduate of Mount Holyoke College, B.A., summa cum laude, and a 1979
graduate of Columbia University School of Law, J.D. Jody has more than thirty years’ of
experience with commercial litigation in state and federal courts.

       Jody has worked on class actions in securities, commodity futures, and antitrust cases
including serving as the Firm’s principal attorney in In re Microsoft Litig., MDL No. 1332
(D.Md.); Leider v. Ralfe (DeBeers Diamond Jewelry Antitrust), 01 Civ. 3137 (HB) (S.D.N.Y.);
Eugenia J. Fiala, et al. v. Metropolitan Life Insurance Company, et al., Index No. 00/601181
(N.Y.S. Sup. Ct.); In re Avista Securities Litig, 02-CV-328 (FVS).

        Jody is now the Firm’s principal attorney in In re LIBOR-Based Financial Instruments
Antitrust Litig., 11-md-2262 (NRB) (S.D.N.Y.) and also is actively involved in Precision Assoc.,
Inc. v. Panalpina World Transport (Holding) Ltd. (Freight Forwarders Antitrust Litig.), 08 Civ.
0042 (JG) (E.D.N.Y.) and Anwar, et al. v. Fairfield Greenwich Limited, et al., 09-cv-0118
(S.D.N.Y.).

Christopher M. McGrath—Partner
       Chris is a graduate of the University of Missouri-Columbia (B.S. with honors) and the
University of Missouri-Columbia School of Law where he was a member of The Journal of
Dispute Resolution.

         Chris has been with the Firm since 2005 and has litigated almost exclusively commodity
manipulation and price-fixing class actions. Chris had an important role in successfully
representing traders of 10-year treasury note futures contracts in Kohen v. Pac. Inv. Mgmt. Co.
LLC, 05-cv-4681 (RAG) (N.D. Ill.). This action resulted in a settlement of $118,750,000, while
the fully briefed motion for summary judgment was pending. This is the second largest class
action recovery in the history of the CEA. Chris also was a principal attorney for the Firm in
successfully representing traders of New York Mercantile Exchange (“NYMEX”) natural gas
futures contracts in In re Amaranth Natural Gas Commodities Litig., 07-cv-6377 (SAS)
(S.D.N.Y.). This action resulted in a settlement of $77,100,000, made during merits expert
discovery. Chris was also a principal attorney for the Firm in representing purchasers of
NYMEX platinum and palladium futures contracts in In re Platinum and Palladium Futures
Litig., 10-cv-3617 (WHP) (S.D.N.Y.), where settlements valued in excess of $70 million were
reached and also purchasers of Chicago Mercantile Exchange (“CME”) Class III milk futures
contracts and physical cheese and milk in In re Dairy Farmers of America, Inc. Cheese Antitrust
Litig., 09 Civ. 03690, (RMD) (N.D. Ill.) where a settlement of $46,000,000 was reached with
certain defendants.

        Chris’ active cases include representing commodity futures traders in In re Crude Oil
Commodity Futures Litig., 11-cv-3600 (WHP) (S.D.N.Y.); and In re Term Commodities Cotton
Futures Litig., 12-cv-05126 (ALC) (S.D.N.Y.). Chris has successfully prosecuted three
intellectual property class actions in which the Firm was the primary class counsel.
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Ian T. Stoll—Partner
        Ian focuses on commodities, antitrust and securities litigation. He has been involved in
the fields of complex litigation and class actions for over 18 years.

        Ian has been actively involved in many of the Firm’s commodities manipulation, price
fixing and securities class actions:

        Commodities manipulation: In re Optiver Commodities Litig., No. 08-Cv-6842
(S.D.N.Y.)(LHP); In re Platinum and Palladium Commodities Litig., 10 Civ. 3617 (WHP)
(S.D.N.Y.); In re Dairy Farmers of America, Inc. Cheese Antitrust Litig., 09 Civ. 03690, (RMD)
(N.D. Ill.); In re Crude Oil Commodity Futures Litig., 11-cv-3600 (WHP) (S.D.N.Y.); In re
LIBOR-Based Financial Instruments Antitrust Litig., MDL No. 2262 (NRB) (S.D.N.Y.); Kohen
v. Pacific Investment Mgmt. Co. LLC, 05-cv-4681 (RAG) (N.D. Ill.); In re Amaranth Natural
Gas Commodities Litig., 07-cv-6377 (SAS) (S.D.N.Y.); In re Natural Gas Commodity Litig., 03-
civ. 6186 (VM)(S.D.N.Y.); and In re Sumitomo Copper Litig., 96 Civ. 4584(MP)(S.D.N.Y.).

       Antitrust: Precision Assoc., Inc. v. Panalpina World Transport (Holding) Ltd. (Freight
Forwarders Antitrust Litig.), 08 Civ. 0042 (JG)(VVP)(E.D.N.Y.); In re BP Propane Indirect
Purchaser Antitrust Litig., 06-c-3541 (JBZ)(N.D. Ill.); Leider v. Ralfe (DeBeers Diamond
Jewelry Antitrust), 01 Civ. 3137 (HB) (S.D.N.Y.); In re Auction Houses Antitrust Litig., No. 00
Civ. 0648 (LAK) (S.D.N.Y.); and In re Microsoft Litig., M.D.L. No. 1332 (D. MD.).

        Ian is a graduate of the University of California at Berkeley (A.B., 1987) and the State
University of New York at Buffalo School of Law (J.D., 1996), where he obtained a Certificate
in the Business Law Program and was an Associate Editor, Buffalo J. Int’l Law.


Craig M. Essenmacher—Partner
        Craig focuses on antitrust and commodities manipulation and has been involved in the
fields of complex litigation and class actions for over ten years.

       Craig is a graduate of Michigan State University, Bachelor of Science in 1990. He also
graduated from Michigan State University with a Doctor of Philosophy in Chemistry in 1995.
During his graduate studies in Chemistry, Craig published three peer reviewed papers in
respected scientific journals that include The Proceedings of the National Academy of Sciences,
U.S.A. and The Journal of the American Chemical Society. Craig graduated from Detroit
College of Law at Michigan State University with a J.D. with a Summa Cum Laude distinction
in 1997.

       Craig has been the principal attorney for the Firm in representing businesses and
consumers of thin-film transistor liquid crystal display (TFT-LCD) products who were harmed
by an alleged price-fixing conspiracy among TFT-LCD manufacturers, In re: TFT-LCD (Flat
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Panel) Antitrust Litigation (cash recovery of $1.1 billion). Craig represented, as the co-lead
counsel firm, a class of indirect purchasers in a price-fixing scheme involving Potash containing
products In re: Potash Antitrust Litigation, an antitrust class action that resulted in a $20-plus
million dollar settlement recovery for the class. Craig represented an indirect purchaser class, as
the co-lead counsel firm, for auto filter price-fixing antitrust, In re: Aftermarket Filters Antitrust
Litigation, resulting in a multi-million dollar settlement recovery for the class. Craig was
involved in a settlement for indirect purchasers in a price-fixing action for surcharges charged by
major airlines for cargo shipping, In Re: Air Cargo Shipping Services Antitrust Litigation,
resulting in an $80 million recovery for the class and $17,000,000 for indirect purchasers.

        Craig is an expert in discovery and is involved in numerous discovery issues in pending
antitrust and commodity manipulation class actions with the Firm. In addition to writing and
advocacy work, Craig liases with experts and consultants in the processing, preparation and
analysis of large amounts of transactional and pricing data, preparation of regression analyses,
and other aspects of preparing class certification and merits expert reports.

        Craig was a principal attorney for the Firm in several price-fixing and commodity
manipulation class actions that have resulted in favorable settlements for plaintiffs. Craig was a
principal attorney for the Firm in prosecuting Kohen v. Pacific Investment Management, Co.,
LLC; In re Amaranth Natural Gas Commodities Litigation; andIn re Natural Gas Commodities
Litigation.

       Craig served as a council member for Michigan State Bar Association section of
Antitrust, Franchising and Trade Regulation from 2010-2012.



Keith D. Essenmacher—Partner
        Keith focuses on antitrust and consumer litigation and has been involved in the fields of
complex litigation and class actions for seven years. Keith has prosecuted a variety of federal
and state court price-fixing, monopoly and unfair business practice actions against multinational
companies and Fortune 500 corporations.

       Keith is a graduate of Michigan State University, 1996; a graduate of Michigan State
University Law, J.D., 2000. Keith served as a council member for Michigan State Bar
Association Antitrust, Franchising and Trademark division from 2010-2012.

        Keith was a principal attorney for the Firm in In re: Cathode Ray Tube (CRT) Antitrust
Litigation, 07-cv-5944 and In re: Processed Egg Products Antitrust Litigation, 08-md-02002.
Keith has represented businesses and consumers of thin-film transistor liquid crystal display
(TFT-LCD) products who were harmed by an alleged price-fixing conspiracy among TFT-LCD
manufacturers. This action has been settled for $1.1 billion. Keith represented a class of
purchasers in a price fixing scheme involving Potash containing products, Gillespie v. Agrium
Inc. This antitrust class action resulted in a $20 million dollar settlement recovery for the class.
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Benjamin M. Jaccarino—Partner
       Ben is a graduate of Wheaton College, Bachelor of Arts in 2006. He graduated from
Suffolk University with a J.D. in 2009. While at Suffolk, Ben received an Oral Advocate award.

      Ben has been with the Firm since 2009 and primarily focuses on commodities
manipulation, and antitrust class actions. Ben has been involved in a number of commodity
manipulation class actions that have resulted in favorable settlements for plaintiffs.

        Ben has represented, as the co-lead counsel firm, businesses and consumers of freight
forwarding services who were harmed by an alleged price-fixing conspiracy among numerous
freight forwarders, Precision Associates, Inc. et al., v. Panalpina World Transport (Holding)
LTD. et al, 08-cv-0042 (E.D.N.Y.).To date, this case has resulted in over $295 million in
settlements.

        Ben played an active role in representing purchasers of 10-year treasury notes in Kohen v.
Pacific Investment Management, Co, LLC that resulted in a settlement of $118,750,000, which is
the second-largest class action recovery in the history of the CEA. Ben also successfully played
an active role in representing traders of New York Mercantile Exchange (“NYMEX”) natural gas
futures contracts in In re Amaranth Natural Gas Commodities Litig., 07-cv-6377 (SAS)
(S.D.N.Y.). This action resulted in a settlement of $77,100,000, which is the fourth-largest class
action recovery in the history of the CEA.

        Ben’s active cases include representing clients in In Re Aluminum Warehousing Antitrust
Litigation, MDL No. 2481, and In re Term Commodities Cotton Futures Litig., 12-cv-05126
(ALC) (S.D.N.Y.).


Fred T. Isquith—Partner
      Fred focuses on antitrust, securities class action, commodities manipulation and other
complex litigation. He has been involved in the field of complex litigation and class actions since
2009.

        Fred is a graduate of Cornell University, with a Bachelor of Science. He also graduated
from Syracuse University’s Maxwell School with a Masters in Public Administration in 2009.
He graduated from Syracuse University’s College of Law with a J.D. in 2009. There he was an
editor on the Journal of International Law and Commerce, served on the executive board of the
Moot Court Honors Society, where he received a certificate for excellence in the service of
Society, and was an elected representative to the College of Law’s Judicial Board.

       Fred has served on the New York County Lawyers’ Association’s Federal Courts
Committee, and currently serves on New York City Bar Association’s Antitrust and Trade
Regulation Committee. He has published articles for the National Association Shareholders and
Consumer Attorneys’ (“NASCAT”) weekly newsletter regarding some of active cases.
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        Currently, Fred is involved in discovery and other aspects of various pending antitrust,
securities, and commodity manipulation class actions with the Firm. In addition to discovery and
advocacy work, he liases with experts regarding class certification and trial issues.


Merrick Scott Rayle—Of Counsel
        Merrick’s practice with the Firm is concentrated on the prosecution of commodity
futures, antitrust, and securities manipulation Class Actions. His experience with the Firm
includes cases prosecuting energy company defendants for manipulating the price of natural gas
futures contracts traded on the New York Mercantile Exchange; prosecuting defendants for
manipulating the price of the June 2005 ten-year Treasury note futures contract; prosecuting a
complex, multinational conspiracy among the leading electronics manufacturers to fix the prices
for LCD panels in the United States; prosecuting multiple real estate brokerage firms for refusing
to compete on the basis of price of residential real estate commission rates in the Commonwealth
of Kentucky; prosecuting potash suppliers in Canada, the United States, Russia, and Belarus for
a conspiracy to restrict the supply and raising or fixing the prices for potash sold in the United
States; prosecuting major record labels for conspiring to fix the prices and terms under which
their music would be sold over the Internet; prosecution of a nationwide conspiracy against the
producers of domestic shell eggs and egg products and their trade associations for conspiring to
manipulate the supply of, and thereby fix the prices for, domestically-sold shell eggs and egg
products; prosecuting the theft of intellectual property and proprietary information and violations
of Sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5 against the controlling
shareholders of the first company to provide high-speed Internet access via cable modem; and
prosecuting a conspiracy to fix prices for Cathode Ray Tubes and to allocate markets and
customers for the sales of Cathode Ray Tubes in the United States.

       From 1978-1987, Merrick was a Partner in the Chicago Office of Sonnenschein Carlin
Nath & Rosenthal, since combined with Dentons. He has over thirty-five years’ experience in
complex litigation, trials, and appeals, trying over 25 cases in the state and federal court system.
He has handled Class Action cases in the federal court system in California, New York, Illinois,
Iowa, Kentucky, Washington, and Pennsylvania.

         Prior to joining the Firm, Merrick’s experience included advising clients in a broad range
of substantive matters, including antitrust, corporate governance and shareholder disputes, state
and federal appellate advocacy, constitutional law (individual rights and freedoms and First
Amendment issues), the Americans with Disabilities Act, common law and business torts, breach
of contract, grand jury investigations, municipal corporations, defamation, election disputes,
internal corporate investigations, representation of entertainers and authors, corporate tax
litigation, and pre-dispute arbitration. Merrick also successfully tried a case in the United States
Tax Court in which the Tax Court ruled that a corporate taxpayer was entitled to claim
substantial net operating loss carryovers from an acquired corporation, despite the Government’s
claim that the principal purpose of the acquisition was the avoidance of tax.

        Merrick served as a judicial law clerk to the Honorable Roy L. Stephenson of the United
States Court of Appeals for the Eighth Circuit for two years. Merrick received his law degree
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from the Indiana University Robert H. McKinney School of Law where he was a member of
Indiana Law Review. He received his Bachelor of Art’s degree from Butler University, and
graduated from Culver Military Academy.

Peggy Wedgeworth
A.     J.D., University of Alabama Law School, 1986

B.     B.A., Auburn University, 1982

C.     Bar Admission, New York, 1987

D.     Ms. Wedgworth represents defrauded investors and consumers, and she currently
       represents investors in In re Merck & Co. Securities Litigation, She actively litigated In
       re Initial Public Offering Securities Litigation for over five years, which settled for $586
       million.

Imtiaz Siddiqui

A.     Tulane University Law School, Class of 2003, J.D. cum laude Admission

B.     Admitted in 2004, New York 2005, U.S. District Court, Southern and Eastern Districts of
       New York 2008, U.S. Court of Appeals, Sixth Circuit 2009, U.S. Court of Appeals,
       Second Circuit 2013

C.     The College of New Jersey, Class of 1998 B.S.

D.     Areas of Law: Antitrust, Securities fraud, Complex Litigation


Janetta A. Pittman (Of Counsel)

A.     is a graduate of the University of Michigan, Ann Arbor, B.A. in Communications, 2003;

B.     is a graduate of Michigan State University College of Law, J.D., 2008; and

C.     is licensed to practice in the State of Michigan

James D. Payne (Of Counsel)

A.     is a graduate of Huntingdon College (Montgomery, AL), B.A.;
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B.    is a graduate of The American University School of International Service (Washington,
      D.C.), M.A. in International Economic Policy;

C.    is a graduate of The American University Washington College of Law (Washington,
      D.C.), J.D.;

D.    is a graduate of University of Amsterdam, LL.M. in International and European Union
      Trade Law, highest distinction; and

E.    is licensed to practice in the states of New York, New Jersey, Alabama, and in the United
      States Court of International Trade.


Matthew D. Kuipers (Of Counsel)

A.    is a graduate of Calvin College, B.S., 2004;

B.    is a graduate of Michigan State University College of Law, J.D.,
      2007; and

C.    is licensed to practice in the State of Michigan.

Tracy Greenwood (Of Counsel)

A.    Is a graduate Michigan State University Law School May 2007,
      University of Utah May 2004, Bachelor’s Degree in Japanese Language, Bachelor’s
      Degree in Asian Studies.

B.    Japanese – Fluent speaker, reading (Nikkei Shinbun – Japanese business newspaper),
      writing (2000 Kanji)

C.    Spanish – Conversation, reading, writing

D.    is licensed to practice in the State of Michigan.


Ari Lehman (Of Counsel)

A.    Benjamin N. Cardozo School of Law, New York, NY - J.D., June 2005 - GPA 3.809,
      Top 3%, Magna Cum Laude

B.    University of Michigan, Ann Arbor, MI - B.A., June 1993 - GPA 3.775, Class Honors
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C.    Nanzan University, Nagoya, Japan (Year Abroad) – Intensive language study and Japan
      related studies.

D.    Bar Admissions: Michigan, 2005.

E.    Languages: Japanese (conversational: verbal, reading and writing)
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                  Exhibit 2
                                Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 69 of 90
                                                                                EXHIBIT 2
                                                     IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                      TIME AND LODESTAR SUMMARY
                                                                     INDIRECT PURCHASER PLAINTIFFS
                                                                             CURRENT RATES
Firm Name               Lovell Stewart
Reporting Year            2007

                         Hourly
          Name/Status     Rate           1     2        3      4      5       6      7      8       9      10     11     12     Hours     Lodestar
Craig Essenmacher/a     $ 725.00                         1.0                                                7.8                     8.8 $ 6,380.00
Keith Essenmacher/a     $ 680.00                         1.0                                               36.5                    37.5 $ 25,500.00
Imtiaz Siddqui/a        $ 470.00         1.8                                                                4.7                     6.5 $ 3,055.00
Chris Lovell/p          $ 950.00         3.9                                                                1.7                     5.6 $ 5,320.00
Gary Jacobson/p         $ 920.00                                                                            1.0                     1.0 $    920.00
Ken Smith/pl            $ 240.00                                                                           16.2                    16.2 $ 3,888.00
Travis Carter/pl        $ 220.00                                                                            5.0                     5.0 $ 1,100.00
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                                 Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 70 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name             Lovell Stewart
Reporting Year          2008

                       Hourly
        Name/Status     Rate           1      2     3      4      5       6      7      8       9      10     11      12     Hours     Lodestar
Craig Essenmacher/a   $ 725.00         20.0                18.0                  23.5           81.2                           142.7 $ 103,457.50
Keith Essenmacher/a   $ 680.00                       3.2                                         2.0    4.3                      9.5 $ 6,460.00
Imtiaz Siddqui/a      $ 470.00          3.4                                                                                      3.4 $ 1,598.00
Chris Lovell/p        $ 950.00         13.6   1.8                                                                               15.4 $ 14,582.50
Gary Jacobson/p       $ 920.00                                                                                                   0.0 $        ‐
Ken Smith/pl          $ 240.00                                                                          0.7                      0.7 $     168.00
Travis Carter/pl      $ 220.00                                                                   0.8    6.0                      6.8 $ 1,502.60
Ben Jaccarino/pl      $ 175.00          0.7                                                      9.3                             9.9 $ 1,736.00
Chris McGrath/a       $ 640.00                                                                   1.0   11.0                     12.0 $ 7,680.00
Fred Isquith/pl       $ 175.00          0.9                                                      7.5                             8.5 $ 1,478.75
Ian Stoll/p           $ 550.00                                                                                                   0.0 $        ‐
Peggy Wedgeworth/p    $ 605.00                              2.6                                                                  2.6 $ 1,573.00
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                                       38.6   1.8    3.2   20.6    0.0     0.0   23.5    0.0   101.8   22.0    0.0     0.0     211.5 $ 140,236.35
                                  Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 71 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name             Lovell Stewart
Reporting Year          2009

                       Hourly
        Name/Status     Rate           1      2     3     4       5      6      7       8      9       10     11      12     Hours     Lodestar
Craig Essenmacher/a   $ 725.00          4.0                                      7.0           45.0    50.0                    106.0 $ 76,850.00
Keith Essenmacher/a   $ 680.00          7.0         0.3                         10.4                  128.1                    145.8 $ 99,144.00
Imtiaz Siddqui/a      $ 470.00                                                                                                   0.0 $        ‐
Chris Lovell/p        $ 950.00          6.2                                      2.0                           5.1              13.2 $ 12,540.00
Gary Jacobson/p       $ 920.00          1.9                                                    26.8    74.0                    102.7 $ 94,438.00
Ken Smith/pl                                                                                                                     0.0 $        ‐
Travis Carter/pl                                                                                                                 0.0 $        ‐
Ben Jaccarino/pl                                                                                                                 0.0 $        ‐
Chris McGrath/a                                                                                                                  0.0 $        ‐
Fred Isquith/pl                                                                                                                  0.0 $        ‐
Ian Stoll/p           $ 700.00                                                                  0.3                              0.3 $    175.00
Peggy Wedgeworth/p                                                                                                               0.0 $        ‐
Christine Segro/pl    $ 185.00                                                                                                   0.0 $        ‐
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                                       19.1   0.0   0.3    0.0     0.0    0.0   19.4     0.0   72.0   252.1    5.1     0.0    367.9 $ 283,147.00
                                  Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 72 of 90
                                                                                EXHIBIT 2
                                                     IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                      TIME AND LODESTAR SUMMARY
                                                                     INDIRECT PURCHASER PLAINTIFFS

Firm Name              Lovell Stewart
Reporting Year           2010

                        Hourly
         Name/Status     Rate           1      2      3       4      5     6       7      8       9      10     11     12     Hours     Lodestar
Craig Essenmacher/a    $ 725.00          2.5                                       78.5            4.0                           85.0 $ 61,625.00
Keith Essenmacher/a    $ 680.00                        8.3    19.6                  5.2            2.6                           35.7 $ 24,276.00
Imtiaz Siddqui/a                                                                                                                  0.0 $        ‐
Chris Lovell/p         $ 950.00          5.8                                        0.3            1.0                            7.1 $ 6,697.50
Gary Jacobson/p        $ 920.00                        0.5     0.3                  0.7            2.0                            3.4 $ 3,082.00
Ken Smith/pl                                                                                                                      0.0 $        ‐
Travis Carter/pl                                                                                                                  0.0 $        ‐
Ben Jaccarino/pl                                                                                                                  0.0 $        ‐
Chris McGrath/a                                                                                                                   0.0 $        ‐
Fred Isquith/pl                                                                                                                   0.0 $        ‐
Ian Stoll/p            $ 550.00                        0.3                                                                        0.3 $     137.50
Peggy Wedgeworth/p                                                                                                                0.0 $        ‐
Christine Segro/pl                                                                                                                0.0 $        ‐
Janetta Pittman/oc     $ 340.00          3.0         113.8                         10.0          139.0    4.0                   269.8 $ 91,715.00
Jason Pearlman/pl      $ 210.00          5.0          57.5    17.0                 48.0           55.5    2.5                   185.5 $ 38,955.00
Jodi Krisilov/p        $ 750.00                       10.3                                                                       10.3 $ 7,725.00
Merrick Rayle/p        $ 700.00         13.0          85.5   463.3                 72.2          334.4   45.4                  1013.8 $ 709,660.00
Tucker Kiesling/pl     $ 240.00                        0.3                                                                        0.3 $      60.00
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                                  Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 73 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name              Lovell Stewart
Reporting Year           2011

                        Hourly
         Name/Status     Rate           1     2      3       4      5     6       7      8       9      10     11     12     Hours     Lodestar
Craig Essenmacher/p    $ 725.00                                                   19.0            4.0    2.0                    25.0 $ 18,125.00
Keith Essenmacher/p    $ 680.00                       7.1                         43.7                                          50.8 $ 34,544.00
Imtiaz Siddqui/a                                                                                                                 0.0 $        ‐
Chris Lovell/p         $ 950.00                                                                                                  0.0 $        ‐
Gary Jacobson/p        $ 920.00         0.2                                                       0.7                            0.9 $     828.00
Ken Smith/pl                                                                                                                     0.0 $        ‐
Travis Carter/pl                                                                                                                 0.0 $        ‐
Ben Jaccarino/a        $ 550.00         0.5                                                                                      0.5 $     275.00
Chris McGrath/p                                                                                                                  0.0 $        ‐
Fred Isquith/a                                                                                                                   0.0 $        ‐
Ian Stoll/p                                                                                                                      0.0 $        ‐
Peggy Wedgeworth/p                                                                                                               0.0 $        ‐
Christine Segro/pl                                                                                                               0.0 $        ‐
Janetta Pittman/oc     $ 340.00         1.0                  52.0                 53.5           47.0                          153.5 $ 52,190.00
Jason Pearlman/pl      $ 210.00                      62.5    23.0   4.0            3.0                                          92.5 $ 19,425.00
Jodi Krisilov/p        $ 750.00         0.4           4.2                                                                        4.6 $ 3,450.00
Merrick Rayle/p        $ 700.00                      42.0   110.9   1.9           48.6           96.0                          299.4 $ 209,580.00
Tucker Kiesling/pl                                                                                                               0.0 $        ‐
Molly Sullivan/pl      $ 250.00                       3.0                         67.8           12.0                           82.8 $ 20,707.50
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                                        2.1   0.0   118.8   185.9   5.9    0.0   235.6    0.0   159.7    2.0    0.0    0.0     710.0 $ 359,124.50
                                      Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 74 of 90
                                                                                   EXHIBIT 2
                                                        IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                         TIME AND LODESTAR SUMMARY
                                                                        INDIRECT PURCHASER PLAINTIFFS

Firm Name                 Lovell Stewart
Reporting Year              2012

                            Hourly
         Name/Status         Rate          1      2     3      4       5      6      7       8      9      10     11      12     Hours     Lodestar
Craig Essenmacher/p        $ 725.00         0.5                                                                                      0.5 $     362.50
Keith Essenmacher/p        $ 680.00         0.8          5.1   25.0    34.1                                                         65.0 $ 44,200.00
Imtiaz Siddqui/a                                                                                                                     0.0 $        ‐
Chris Lovell/p             $ 950.00         0.8                                                                                      0.8 $     712.50
Gary Jacobson/p                                                                                                                      0.0 $        ‐
Ken Smith/pl                                                                                                                         0.0 $        ‐
Travis Carter/pl                                                                                                                     0.0 $        ‐
Ben Jaccarino/a                                                                                                                      0.0 $        ‐
Chris McGrath/p                                                                                                                      0.0 $        ‐
Fred Isquith/a                                                                                                                       0.0 $        ‐
Ian Stoll/p                                                                                                                          0.0 $        ‐
Peggy Wedgeworth/p                                                                                                                   0.0 $        ‐
Christine Segro/pl                                                                                                                   0.0 $        ‐
Janetta Pittman/oc         $ 340.00                                                                                                  0.0 $        ‐
Jason Pearlman/pl                                                                                                                    0.0 $        ‐
Jodi Krisilov/p                                                                                                                      0.0 $        ‐
Merrick Rayle/p            $ 700.00                                                                                                  0.0 $        ‐
Tucker Kiesling/pl         $ 240.00                                                                  6.0                             6.0 $ 1,440.00
Molly Sullivan/pl                                                                                                                    0.0 $        ‐
Ari Lehman/oc              $ 400.00                                                 666.8                                          666.8 $ 266,700.00
Mathew Kuiper/a            $ 350.00                                                 612.7                                          612.7 $ 214,445.00
Tracy Greenwood/oc         $ 400.00                                                 200.0                                          200.0 $ 80,000.00
Ari Lehman/oc dep prep     $ 435.00                                                 207.0                                          207.0 $ 90,045.00
Tracy Greenwood/oc dep pre $ 450.00                                                 122.5                                          122.5 $ 55,125.00
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                                      Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 75 of 90
                                                                                      EXHIBIT 2
                                                           IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                            TIME AND LODESTAR SUMMARY
                                                                           INDIRECT PURCHASER PLAINTIFFS

Firm Name                     Lovell Stewart
Reporting Year                  2013

                               Hourly
           Name/Status          Rate           1     2        3      4      5       6       7      8      9      10     11     12     Hours       Lodestar
Craig Essenmacher/p           $ 725.00                                                                                                    0.0 $            ‐
Keith Essenmacher/p           $ 680.00                                                       2.2                                          2.2 $       1,496.00
Imtiaz Siddqui/a                                                                                                                          0.0 $            ‐
Chris Lovell/p                $ 950.00         1.0                                                                                        1.0 $         950.00
Gary Jacobson/p                                                                                                                           0.0 $            ‐
Ken Smith/pl                                                                                                                              0.0 $            ‐
Travis Carter/pl                                                                                                                          0.0 $            ‐
Ben Jaccarino/a                                                                                                                           0.0 $            ‐
Chris McGrath/p               $ 640.00                                               7.7                   8.1                           15.8 $      10,112.00
Fred Isquith/a                                                                                                                            0.0 $            ‐
Ian Stoll/p                                                                                                                               0.0 $            ‐
Peggy Wedgeworth/p                                                                                                                        0.0 $            ‐
Christine Segro/pl                                                                                                                        0.0 $            ‐
Janetta Pittman/oc                                                                                                                        0.0 $            ‐
Jason Pearlman/pl                                                                                                                         0.0 $            ‐
Jodi Krisilov/p                                                                                                                           0.0 $            ‐
Merrick Rayle/p               $ 700.00                                                                   14.7                            14.7 $      10,290.00
Tucker Kiesling/pl                                                                                                                        0.0 $            ‐
Molly Sullivan/pl                                                                                                                         0.0 $            ‐
Ari Lehman/oc                 $ 400.00                                                      24.8                                         24.8 $       9,900.00
Mathew Kuiper/a               $ 350.00                                                     986.6                                        986.6 $     345,310.00
Tracy Greenwood/oc                                                                                                                        0.0 $            ‐
Ari Lehman/oc dep prep        $ 435.00                                                     967.3                                        967.3 $     420,753.75
Tracy Greenwood/oc dep prep   $ 450.00                                                                                                    0.0 $            ‐
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                                               1.0   0.0       0.0    0.0    0.0     7.7 1980.8    0.0   22.8     0.0    0.0    0.0   2012.3 $      798,811.75
                                Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 76 of 90
                                                                                EXHIBIT 2
                                                     IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                      TIME AND LODESTAR SUMMARY
                                                                     INDIRECT PURCHASER PLAINTIFFS

Firm Name                     Lovell Stewart
Reporting Year                  2014

                               Hourly
              Name/Status       Rate           1      2      3      4       5      6       7      8      9      10     11     12     Hours     Lodestar
Craig Essenmacher/p           $ 725.00                                                                                                   0.0 $        ‐
Keith Essenmacher/p           $ 680.00                        1.8                                                                        1.8 $ 1,224.00
Imtiaz Siddqui/a                                                                                                                         0.0 $        ‐
Chris Lovell/p                $ 950.00         0.4                                          0.3                                          0.7 $     665.00
Gary Jacobson/p                                                                                                                          0.0 $        ‐
Ken Smith/pl                                                                                                                             0.0 $        ‐
Travis Carter/pl                                                                                                                         0.0 $        ‐
Ben Jaccarino/a                                                                                                                          0.0 $        ‐
Chris McGrath/p                                                                                                                          0.0 $        ‐
Fred Isquith/a                                                                                                                           0.0 $        ‐
Ian Stoll/p                                                                                                                              0.0 $        ‐
Peggy Wedgeworth/p                                                                                                                       0.0 $        ‐
Christine Segro/pl                                                                                                                       0.0 $        ‐
Janetta Pittman/oc                                                                                                                       0.0 $        ‐
Jason Pearlman/pl                                                                                                                        0.0 $        ‐
Jodi Krisilov/p                                                                                                                          0.0 $        ‐
Merrick Rayle/p               $ 700.00                                                                                                   0.0 $        ‐
Tucker Kiesling/pl                                                                                                                       0.0 $        ‐
Molly Sullivan/pl                                                                                                                        0.0 $        ‐
Ari Lehman/oc                 $ 400.00                                                    295.6           9.8                          305.3 $ 122,120.00
Mathew Kuiper/a               $ 350.00                                                      8.7                                          8.7 $ 3,045.00
Tracy Greenwood/oc                                                                                                                       0.0 $        ‐
Ari Lehman/oc dep prep        $ 435.00                                                    158.3                                        158.3 $ 68,838.75
Tracy Greenwood/oc dep prep   $ 450.00                                                                                                   0.0 $        ‐
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                                               0.4     0.0    1.8    0.0     0.0    0.0   462.8    0.0    9.8    0.0    0.0    0.0     474.8 $ 195,892.75
                               Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 77 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name              Lovell Stewart
Reporting Year           2015

                        Hourly
         Name/Status     Rate           1     2        3      4      5       6      7      8       9      10     11     12     Hours     Lodestar
Keith Essenmacher/p    $ 680.00                         0.8                                                                        0.8 $    544.00
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                                        0.0   0.0       0.8    0.0    0.0     0.0    0.0    0.0     0.0    0.0    0.0    0.0      0.8 $     544.00
                                       Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 78 of 90
                                                                                     EXHIBIT 2
                                                          IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                           TIME AND LODESTAR SUMMARY
                                                                          INDIRECT PURCHASER PLAINTIFFS

Firm Name        Lovell Stewart
Reporting Year   Inception through Present


     Year                       1      2      3       4         5       6       7       8       9      10      11     12     Hours       Lodestar

     2007                        5.7   0.0     2.0     0.0       0.0     0.0     0.0     0.0     0.0    72.9    0.0    0.0     80.6 $       46,163.00

     2008                       38.6   1.8     3.2    20.6       0.0     0.0    23.5     0.0   101.8    22.0    0.0    0.0    211.5 $      140,236.35

     2009                       19.1   0.0     0.3     0.0       0.0     0.0    19.4     0.0    72.0   252.1    5.1    0.0    367.9 $      283,147.00

     2010                       29.3   0.0   276.3   500.2       0.0     0.0   214.9     0.0   538.5    51.9    0.0    0.0   1611.0 $      943,933.00

     2011                        2.1   0.0   118.8   185.9       5.9     0.0   235.6     0.0   159.7     2.0    0.0    0.0    710.0 $      359,124.50

     2012                        2.1   0.0     5.1    25.0      34.1     0.0 1809.0      0.0     6.0     0.0    0.0    0.0   1881.2 $      753,030.00

     2013                        1.0   0.0     0.0     0.0       0.0     7.7 1980.8      0.0    22.8     0.0    0.0    0.0   2012.3 $      798,811.75

     2014                        0.4   0.0     1.8     0.0       0.0     0.0   462.8     0.0     9.8     0.0    0.0    0.0    474.8 $      195,892.75
     2015                        0.0   0.0     0.8     0.0       0.0     0.0     0.0     0.0     0.0     0.0    0.0    0.0       0.8 $         544.00

                                98.1   1.8   408.3   731.7      40.0     7.7 4745.9      0.0   910.6   400.9    5.1    0.0   7350.0 $    3,520,882.35


    STATUS:                                                                CATEGORIES:
       (P)       Partner                                   1 Attorney Meeting/Strategy
      (OC)       Of Counsel                                2 Court Appearance
       (A)       Associate                                 3 Client Meeting
      (LC)       Law Clerk                                 4 Draft Discovery Requests or Responses
      (PL)       Paralegal                                 5 Deposition Preparation
        (I)      Investigator                              6 Attend Deposition ‐ Conduct/Defend
                                                           7 Document Review
                                                           8 Experts ‐ Work or Consult
                                                           9 Research
                                                          10 Motions/Pleadings
                                                          11 Settlement
                                                          12 Trial
                                Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 79 of 90
                                                                                EXHIBIT 2
                                                     IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                      TIME AND LODESTAR SUMMARY
                                                                     INDIRECT PURCHASER PLAINTIFFS
                                                                            HISTORICAL RATES
Firm Name               Lovell Stewart
Reporting Year            2007

                         Hourly
          Name/Status     Rate           1     2        3      4      5       6      7      8       9      10     11     12     Hours     Lodestar
Craig Essenmacher/a     $ 530.00                         1.0                                                7.8                     8.8 $ 4,664.00
Keith Essenmacher/a     $ 450.00                         1.0                                               36.5                    37.5 $ 16,875.00
Imtiaz Siddqui/a        $ 370.00         1.8                                                                4.7                     6.5 $ 2,405.00
Chris Lovell/p          $ 765.00         3.9                                                                1.7                     5.6 $ 4,284.00
Gary Jacobson/p         $ 700.00                                                                            1.0                     1.0 $    700.00
Ken Smith/pl            $ 210.00                                                                           16.2                    16.2 $ 3,402.00
Travis Carter/pl        $ 150.00                                                                            5.0                     5.0 $    750.00
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                                         5.7   0.0       2.0    0.0    0.0     0.0    0.0    0.0     0.0   72.9    0.0    0.0     80.6 $ 33,080.00
                                 Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 80 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name             Lovell Stewart
Reporting Year          2008

                       Hourly
        Name/Status     Rate           1      2     3      4      5       6      7      8       9      10     11      12     Hours     Lodestar
Craig Essenmacher/a   $ 530.00         20.0                18.0                  23.5           81.2                           142.7 $ 75,631.00
Keith Essenmacher/a   $ 450.00                       3.2                                         2.0    4.3                      9.5 $ 4,275.00
Imtiaz Siddqui/a      $ 370.00          3.4                                                                                      3.4 $ 1,258.00
Chris Lovell/p        $ 765.00         13.6   1.8                                                                               15.4 $ 11,742.75
Gary Jacobson/p       $ 700.00                                                                                                   0.0 $        ‐
Ken Smith/pl          $ 210.00                                                                          0.7                      0.7 $    147.00
Travis Carter/pl      $ 150.00                                                                   0.8    6.0                      6.8 $ 1,024.50
Ben Jaccarino/pl      $ 175.00          0.7                                                      9.3                             9.9 $ 1,736.00
Chris McGrath/a       $ 330.00                                                                   1.0   11.0                     12.0 $ 3,960.00
Fred Isquith/pl       $ 175.00          0.9                                                      7.5                             8.5 $ 1,478.75
Ian Stoll/p           $ 550.00                                                                                                   0.0 $        ‐
Peggy Wedgeworth/p    $ 605.00                              2.6                                                                  2.6 $ 1,573.00
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                                       38.6   1.8    3.2   20.6    0.0     0.0   23.5    0.0   101.8   22.0    0.0     0.0    211.5 $ 102,826.00
                                  Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 81 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name             Lovell Stewart
Reporting Year          2009

                       Hourly
        Name/Status     Rate           1      2     3     4       5      6      7       8      9       10     11      12     Hours     Lodestar
Craig Essenmacher/a   $ 560.00          4.0                                      7.0           45.0    50.0                    106.0 $ 59,360.00
Keith Essenmacher/a   $ 500.00          7.0         0.3                         10.4                  128.1                    145.8 $ 72,900.00
Imtiaz Siddqui/a                                                                                                                 0.0 $        ‐
Chris Lovell/p        $ 795.00          6.2                                      2.0                           5.1              13.2 $ 10,494.00
Gary Jacobson/p       $ 740.00          1.9                                                    26.8    74.0                    102.7 $ 75,961.00
Ken Smith/pl                                                                                                                     0.0 $        ‐
Travis Carter/pl                                                                                                                 0.0 $        ‐
Ben Jaccarino/pl                                                                                                                 0.0 $        ‐
Chris McGrath/a                                                                                                                  0.0 $        ‐
Fred Isquith/pl                                                                                                                  0.0 $        ‐
Ian Stoll/p           $ 550.00                                                                  0.3                              0.3 $    137.50
Peggy Wedgeworth/p                                                                                                               0.0 $        ‐
Christine Segro/pl    $ 185.00                                                                                                   0.0 $        ‐
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                                       19.1   0.0   0.3    0.0     0.0    0.0   19.4     0.0   72.0   252.1    5.1     0.0    367.9 $ 218,852.50
                                  Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 82 of 90
                                                                                EXHIBIT 2
                                                     IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                      TIME AND LODESTAR SUMMARY
                                                                     INDIRECT PURCHASER PLAINTIFFS

Firm Name              Lovell Stewart
Reporting Year           2010

                        Hourly
         Name/Status     Rate           1      2      3       4      5     6       7      8       9      10     11     12     Hours     Lodestar
Craig Essenmacher/a    $ 595.00          2.5                                       78.5            4.0                           85.0 $ 50,575.00
Keith Essenmacher/a    $ 575.00                        8.3    19.6                  5.2            2.6                           35.7 $ 20,527.50
Imtiaz Siddqui/a                                                                                                                  0.0 $        ‐
Chris Lovell/p         $ 795.00          5.8                                        0.3            1.0                            7.1 $ 5,604.75
Gary Jacobson/p        $ 770.00                        0.5     0.3                  0.7            2.0                            3.4 $ 2,579.50
Ken Smith/pl                                                                                                                      0.0 $        ‐
Travis Carter/pl                                                                                                                  0.0 $        ‐
Ben Jaccarino/pl                                                                                                                  0.0 $        ‐
Chris McGrath/a                                                                                                                   0.0 $        ‐
Fred Isquith/pl                                                                                                                   0.0 $        ‐
Ian Stoll/p            $ 550.00                        0.3                                                                        0.3 $     137.50
Peggy Wedgeworth/p                                                                                                                0.0 $        ‐
Christine Segro/pl                                                                                                                0.0 $        ‐
Janetta Pittman/oc     $ 340.00          3.0         113.8                         10.0          139.0    4.0                   269.8 $ 91,715.00
Jason Pearlman/pl      $ 140.00          5.0          57.5    17.0                 48.0           55.5    2.5                   185.5 $ 25,970.00
Jodi Krisilov/p        $ 675.00                       10.3                                                                       10.3 $ 6,952.50
Merrick Rayle/p        $ 580.00         13.0          85.5   463.3                 72.2          334.4   45.4                  1013.8 $ 588,004.00
Tucker Kiesling/pl     $ 160.00                        0.3                                                                        0.3 $      40.00
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                                        29.3   0.0   276.3   500.2   0.0    0.0   214.9    0.0   538.5   51.9    0.0    0.0   1611.0 $ 792,105.75
                                  Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 83 of 90
                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name              Lovell Stewart
Reporting Year           2011

                        Hourly
         Name/Status     Rate           1     2      3       4      5     6       7      8       9      10     11     12     Hours     Lodestar
Craig Essenmacher/p    $ 595.00                                                   19.0            4.0    2.0                    25.0 $ 14,875.00
Keith Essenmacher/p    $ 575.00                       7.1                         43.7                                          50.8 $ 29,210.00
Imtiaz Siddqui/a                                                                                                                 0.0 $        ‐
Chris Lovell/p                                                                                                                   0.0 $        ‐
Gary Jacobson/p        $ 770.00         0.2                                                       0.7                            0.9 $     693.00
Ken Smith/pl                                                                                                                     0.0 $        ‐
Travis Carter/pl                                                                                                                 0.0 $        ‐
Ben Jaccarino/a        $ 290.00         0.5                                                                                      0.5 $     145.00
Chris McGrath/p                                                                                                                  0.0 $        ‐
Fred Isquith/a                                                                                                                   0.0 $        ‐
Ian Stoll/p                                                                                                                      0.0 $        ‐
Peggy Wedgeworth/p                                                                                                               0.0 $        ‐
Christine Segro/pl                                                                                                               0.0 $        ‐
Janetta Pittman/oc     $ 340.00         1.0                  52.0                 53.5           47.0                          153.5 $ 52,190.00
Jason Pearlman/pl      $ 140.00                      62.5    23.0   4.0            3.0                                          92.5 $ 12,950.00
Jodi Krisilov/p        $ 675.00         0.4           4.2                                                                        4.6 $ 3,105.00
Merrick Rayle/p        $ 580.00                      42.0   110.9   1.9           48.6           96.0                          299.4 $ 173,652.00
Tucker Kiesling/pl                                                                                                               0.0 $        ‐
Molly Sullivan/pl      $ 250.00                       3.0                         67.8           12.0                           82.8 $ 20,707.50
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                                                                                                                                 0.0 $        ‐
                                        2.1   0.0   118.8   185.9   5.9    0.0   235.6    0.0   159.7    2.0    0.0    0.0     710.0 $ 307,527.50
                                      Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 84 of 90
                                                                                   EXHIBIT 2
                                                        IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                         TIME AND LODESTAR SUMMARY
                                                                        INDIRECT PURCHASER PLAINTIFFS

Firm Name                 Lovell Stewart
Reporting Year              2012

                            Hourly
         Name/Status         Rate          1      2     3      4       5      6      7       8      9      10     11      12     Hours     Lodestar
Craig Essenmacher/p        $ 635.00         0.5                                                                                      0.5 $     317.50
Keith Essenmacher/p        $ 615.00         0.8          5.1   25.0    34.1                                                         65.0 $ 39,975.00
Imtiaz Siddqui/a                                                                                                                     0.0 $        ‐
Chris Lovell/p             $ 845.00         0.8                                                                                      0.8 $     633.75
Gary Jacobson/p                                                                                                                      0.0 $        ‐
Ken Smith/pl                                                                                                                         0.0 $        ‐
Travis Carter/pl                                                                                                                     0.0 $        ‐
Ben Jaccarino/a                                                                                                                      0.0 $        ‐
Chris McGrath/p                                                                                                                      0.0 $        ‐
Fred Isquith/a                                                                                                                       0.0 $        ‐
Ian Stoll/p                                                                                                                          0.0 $        ‐
Peggy Wedgeworth/p                                                                                                                   0.0 $        ‐
Christine Segro/pl                                                                                                                   0.0 $        ‐
Janetta Pittman/oc         $ 340.00                                                                                                  0.0 $        ‐
Jason Pearlman/pl                                                                                                                    0.0 $        ‐
Jodi Krisilov/p                                                                                                                      0.0 $        ‐
Merrick Rayle/p                                                                                                                      0.0 $        ‐
Tucker Kiesling/pl         $ 170.00                                                                  6.0                             6.0 $ 1,020.00
Molly Sullivan/pl                                                                                                                    0.0 $        ‐
Ari Lehman/oc              $ 400.00                                                 666.8                                          666.8 $ 266,700.00
Mathew Kuiper/a            $ 350.00                                                 612.7                                          612.7 $ 214,445.00
Tracy Greenwood/oc         $ 400.00                                                 200.0                                          200.0 $ 80,000.00
Ari Lehman/oc dep prep     $ 435.00                                                 207.0                                          207.0 $ 90,045.00
Tracy Greenwood/oc dep pre $ 450.00                                                 122.5                                          122.5 $ 55,125.00
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                                            2.1   0.0    5.1   25.0    34.1    0.0 1809.0     0.0    6.0    0.0     0.0    0.0   1881.2 $ 748,261.25
                                        Case 4:07-cv-05944-JST Document 4373-3 Filed 02/04/16 Page 85 of 90
                                                                                      EXHIBIT 2
                                                           IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                            TIME AND LODESTAR SUMMARY
                                                                           INDIRECT PURCHASER PLAINTIFFS

Firm Name                     Lovell Stewart
Reporting Year                  2013

                               Hourly
           Name/Status          Rate           1     2        3      4      5       6       7      8      9      10     11     12     Hours       Lodestar
Craig Essenmacher/p                                                                                                                       0.0 $            ‐
Keith Essenmacher/p           $ 650.00                                                       2.2                                          2.2 $       1,430.00
Imtiaz Siddqui/a                                                                                                                          0.0 $            ‐
Chris Lovell/p                $ 875.00         1.0                                                                                        1.0 $         875.00
Gary Jacobson/p                                                                                                                           0.0 $            ‐
Ken Smith/pl                                                                                                                              0.0 $            ‐
Travis Carter/pl                                                                                                                          0.0 $            ‐
Ben Jaccarino/a                                                                                                                           0.0 $            ‐
Chris McGrath/p               $ 520.00                                               7.7                   8.1                           15.8 $       8,216.00
Fred Isquith/a                                                                                                                            0.0 $            ‐
Ian Stoll/p                                                                                                                               0.0 $            ‐
Peggy Wedgeworth/p                                                                                                                        0.0 $            ‐
Christine Segro/pl                                                                                                                        0.0 $            ‐
Janetta Pittman/oc                                                                                                                        0.0 $            ‐
Jason Pearlman/pl                                                                                                                         0.0 $            ‐
Jodi Krisilov/p                                                                                                                           0.0 $            ‐
Merrick Rayle/p               $ 640.00                                                                   14.7                            14.7 $       9,408.00
Tucker Kiesling/pl                                                                                                                        0.0 $            ‐
Molly Sullivan/pl                                                                                                                         0.0 $            ‐
Ari Lehman/oc                 $ 400.00                                                      24.8                                         24.8 $       9,900.00
Mathew Kuiper/a               $ 350.00                                                     986.6                                        986.6 $     345,310.00
Tracy Greenwood/oc                                                                                                                        0.0 $            ‐
Ari Lehman/oc dep prep        $ 435.00                                                     967.3                                        967.3 $     420,753.75
Tracy Greenwood/oc dep prep   $ 450.00                                                                                                    0.0 $            ‐
                                                                                                                                          0.0 $            ‐
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                                                                                                                                          0.0 $            ‐
                                               1.0   0.0       0.0    0.0    0.0     7.7 1980.8    0.0   22.8     0.0    0.0    0.0   2012.3 $      795,892.75
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                                                                                EXHIBIT 2
                                                     IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                      TIME AND LODESTAR SUMMARY
                                                                     INDIRECT PURCHASER PLAINTIFFS

Firm Name                     Lovell Stewart
Reporting Year                  2014

                               Hourly
              Name/Status       Rate           1      2      3      4       5      6       7      8      9      10     11     12     Hours     Lodestar
Craig Essenmacher/p                                                                                                                      0.0 $        ‐
Keith Essenmacher/p           $ 680.00                        1.8                                                                        1.8 $ 1,224.00
Imtiaz Siddqui/a                                                                                                                         0.0 $        ‐
Chris Lovell/p                $ 950.00         0.4                                          0.3                                          0.7 $     665.00
Gary Jacobson/p                                                                                                                          0.0 $        ‐
Ken Smith/pl                                                                                                                             0.0 $        ‐
Travis Carter/pl                                                                                                                         0.0 $        ‐
Ben Jaccarino/a                                                                                                                          0.0 $        ‐
Chris McGrath/p                                                                                                                          0.0 $        ‐
Fred Isquith/a                                                                                                                           0.0 $        ‐
Ian Stoll/p                                                                                                                              0.0 $        ‐
Peggy Wedgeworth/p                                                                                                                       0.0 $        ‐
Christine Segro/pl                                                                                                                       0.0 $        ‐
Janetta Pittman/oc                                                                                                                       0.0 $        ‐
Jason Pearlman/pl                                                                                                                        0.0 $        ‐
Jodi Krisilov/p                                                                                                                          0.0 $        ‐
Merrick Rayle/p               $ 700.00                                                                                                   0.0 $        ‐
Tucker Kiesling/pl                                                                                                                       0.0 $        ‐
Molly Sullivan/pl                                                                                                                        0.0 $        ‐
Ari Lehman/oc                 $ 400.00                                                    295.6           9.8                          305.3 $ 122,120.00
Mathew Kuiper/a               $ 350.00                                                      8.7                                          8.7 $ 3,045.00
Tracy Greenwood/oc                                                                                                                       0.0 $        ‐
Ari Lehman/oc dep prep        $ 435.00                                                    158.3                                        158.3 $ 68,838.75
Tracy Greenwood/oc dep prep   $ 450.00                                                                                                   0.0 $        ‐
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                                                                                                                                         0.0 $        ‐
                                                                                                                                         0.0 $        ‐
                                               0.4     0.0    1.8    0.0     0.0    0.0   462.8    0.0    9.8    0.0    0.0    0.0     474.8 $ 195,892.75
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                                                                               EXHIBIT 2
                                                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                     TIME AND LODESTAR SUMMARY
                                                                    INDIRECT PURCHASER PLAINTIFFS

Firm Name              Lovell Stewart
Reporting Year           2015

                        Hourly
         Name/Status     Rate           1     2        3      4      5       6      7      8       9      10     11     12     Hours     Lodestar
Keith Essenmacher/p    $ 680.00                         0.8                                                                        0.8 $    544.00
                                                                                                                                   0.0 $        ‐
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                                                                                                                                   0.0 $        ‐
                                        0.0   0.0       0.8    0.0    0.0     0.0    0.0    0.0     0.0    0.0    0.0    0.0      0.8 $     544.00
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                                                                          EXHIBIT 2
                                               IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                                                TIME AND LODESTAR SUMMARY
                                                               INDIRECT PURCHASER PLAINTIFFS
Firm Name        Lovell Stewart
Reporting Year   Inception through Present


     Year                       1       2         3       4         5       6       7       8       9      10      11     12     Hours      Lodestar

     2007                        5.7     0.0       2.0     0.0       0.0     0.0     0.0     0.0     0.0    72.9    0.0    0.0     80.6 $      33,080.00

     2008                       38.6     1.8       3.2    20.6       0.0     0.0    23.5     0.0   101.8    22.0    0.0    0.0    211.5 $     102,826.00

     2009                       19.1     0.0       0.3     0.0       0.0     0.0    19.4     0.0    72.0   252.1    5.1    0.0    367.9 $     218,852.50

     2010                       29.3     0.0     276.3   500.2       0.0     0.0   214.9     0.0   538.5    51.9    0.0    0.0   1611.0 $     792,105.75

     2011                        2.1     0.0     118.8   185.9       5.9     0.0   235.6     0.0   159.7     2.0    0.0    0.0    710.0 $     307,527.50

     2012                        2.1     0.0       5.1    25.0      34.1     0.0 1809.0      0.0     6.0     0.0    0.0    0.0   1881.2 $     748,261.25

     2013                        1.0     0.0       0.0     0.0       0.0     7.7 1980.8      0.0    22.8     0.0    0.0    0.0   2012.3 $     795,892.75

     2014                        0.4     0.0       1.8     0.0       0.0     0.0   462.8     0.0     9.8     0.0    0.0    0.0    474.8 $     195,892.75

     2015                        0.0     0.0       0.8     0.0       0.0     0.0     0.0     0.0     0.0     0.0    0.0    0.0      0.8 $         544.00

                                98.1     1.8     408.3   731.7      40.0     7.7 4745.9      0.0   910.6   400.9    5.1    0.0   7350.0 $   3,194,982.50


    STATUS:                                                                    CATEGORIES:
       (P)       Partner                                       1 Attorney Meeting/Strategy
      (OC)       Of Counsel                                    2 Court Appearance
       (A)       Associate                                     3 Client Meeting
      (LC)       Law Clerk                                     4 Draft Discovery Requests or Responses
      (PL)       Paralegal                                     5 Deposition Preparation
        (I)      Investigator                                  6 Attend Deposition ‐ Conduct/Defend
                                                               7 Document Review
                                                               8 Experts ‐ Work or Consult
                                                               9 Research
                                                              10 Motions/Pleadings
                                                              11 Settlement
                                                              12 Trial
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                  Exhibit 3
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                                       EXHIBIT 3
         IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION; MDL NO. 1917
                                  EXPENSE SUMMARY
                            INDIRECT PURCHASER PLAINTIFFS
Firm Name        Lovell Stewart
Reporting Year Inception through May 31, 2015




                   TYPE OF EXPENSE                             TOTAL

Assessments                                              $       125,000.00
Outside Copies
In‐house Reproduction /Copies                            $            917.32
Court Costs & Filing Fees                                $            350.00
Court Reporters /Transcripts                             $            874.88
Computer Research                                        $         13,179.66
Telephone & Facsimile                                    $             84.42
Postage/Express Delivery/Courier                         $          1,045.89
Professional Fees (investigator, accountant, etc.)
Experts
Witness / Service Fees
Travel: Airfare                                          $         15,639.60
Travel: Lodging/Meals                                    $         11,622.31
Travel: Other                                            $            784.61
Car Rental/Cabfare/Parking                               $          1,718.22
Other Expenses                                           $          1,354.68

                                                         $       172,571.59
